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                                 GERARDO ARELLANO - July 14, 2020
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  · · · · · ·IN THE UNITED STATES DISTRICT COURT             ·1·
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                                                               ·EXAMINATION OF GERARDO ARELLANO:· · · · · · · ··PAGE
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                                                               ·By Mr. Crone· · · · · · · · · · · · · · · · · · ··5
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 ···                                                         ·5·
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·5·
  ·Plaintiff,
 ···                                                         ·6·
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·6·
  ·v.                                                         ···· · · · · · ·Counseling Record
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·7·
  ·FRONTIER AIRLINES, INC.,                                  ·7·
                                                               ·
 ··a· Colorado corporation,                                   ··Exhibit
                                                                 ·      2· · ·1/29/10 Memo to Kruger from· · · ··55
·8·
  ·
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    ·                                                        ·8·
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·9·
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10·
  · · · ·VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF             ···· · · · · · ·reasonable accomodation
 ···· · · · · · · · ·GERARDO ARELLANO                        10·
                                                               ·
11·
  · · · · · · · · · · ··July 14, 2020
 ··_____________________________________________________
    ·                                                         ··Exhibit
                                                                 ·      4· · ·10/4/12 Letter To Whom It May· · ··57
12·
  ·                                                          11·
                                                               · · · · · · · ·Concern from Dr. Volin;
 ···
13·
  · · · · ··PURSUANT TO NOTICE and the Federal Rules          ···· · · · · · ·5/30/13 Letter To Whom It May
 ···                                                         12·
                                                               · · · · · · · ·Concern from Dr. McCrann;
14·
  ·of Civil Procedure, the videotaped videoconference
 ···                                                          ···· · · · · · ·12/22/13 Note from
15·
  ·deposition of GERARDO ARELLANO, whose identity has        13·
                                                               · · · · · · · ·Presbyterian/St. Luke's
 ···
16·
  ·been verified by the court reporter, was taken on         14·
                                                               ·
 ···                                                          ··(Exhibits
                                                                 ·         provided electronically to the court
17·
  ·behalf of the Plaintiff on July 14, 2020, commencing
 ···                                                         15·
                                                               ·reporter.)
18·
  ·at 8:58 a.m., before Jill S. Nielsen, Registered          16·
                                                               ·
 ···
19·
  ·Professional Reporter and Notary Public within the        17·
                                                               ·
 ···                                                         18·
                                                               ·
20·
  ·state of Colorado.
 ···                                                         19·
                                                               ·
21·
  ·                                                          20·
                                                               ·
 ···
22·
  ·(The reporter, Jill S. Nielsen, appearing remotely        21·
                                                               ·
 ···                                                         22·
                                                               ·
23·
  ·via videoconference.)
 ···                                                         23·
                                                               ·
24·
  ·                                                          24·
                                                               ·
 ···
25·
  ·                                                          25·
                                                               ·

                                                         2                                                              4
·1·
  · · · · · · · · · · ··APPEARANCES                          ·1·
                                                               · · · · · · · ··P R O C E E D I N G S
·2·
  ·FOR THE PLAINTIFF:
                                                             ·2·
                                                               · · · · · ·THE VIDEOGRAPHER:··Good morning.··We are on
·3·
  · · ··JOHN R. CRONE, ESQ.
 ···· ··EVAN S. GRIMES, ESQ.                                 ·3·
                                                               ·the record.··The time now is 8:58 a.m. on July 14,
·4·
  · · ··The Law Office of John R. Crone, LLC                 ·4·
                                                               ·2020.
 ···· ··4550 East Cherry Creek Drive South, Suite 1003
·5·
  · · ··Glendale, Colorado 80246                             ·5·
                                                               · · · · · ·We are conducting the virtual deposition of
 ···· ··303.598.3526                                         ·6·
                                                               ·Gerardo Arellano in the matter of Rebecca Brigham v.
·6·
  · · ··john@crone-law.com
 ···· ··(Appearing via videoconference)                      ·7·
                                                               ·Frontier Airlines in the United States District Court
·7·
  ·                                                          ·8·
                                                               ·for the District of Colorado, Case Number 19cv03417.
·8·
  ·FOR THE DEFENDANT:
                                                             ·9·
                                                               · · · · · ·The video technician is Walt Mathern.··The
·9·
  · · ··DANIELLE L. KITSON, ESQ.
 ···· ··CAROLYN THEIS, ESQ.                                  10·
                                                               ·court reporter is Jill Nielsen.
10·
  · · ··Littler Mendelson, P.C.
                                                             11·
                                                               · · · · · ·Will the parties and their counsel please
 ···· ··1900 Sixteenth Street, Suite 800
11·
  · · ··Denver, Colorado 80202                               12·
                                                               ·indicate your agreement that this is a virtual
 ···· ··303.629.6200                                         13·
                                                               ·deposition and state your name and whom you
12·
  · · ··dkitson@littler.com
 ···· ··catheis@littler.com                                  14·
                                                               ·represent.
13·
  · · ··(Appearing via videoconference)                      15·
                                                               · · · · · ·MR. CRONE:··Plaintiff agrees this is a
14·
  ·
 ··ALSO
    ·   PRESENT:                                             16·
                                                               ·virtual deposition.··My name is John Crone, and I
15·
  ·                                                          17·
                                                               ·represent the plaintiff.
 ···· ··JACALYN PETER, In-House Counsel, VP of Labor
16·
  · · ··Relations (Appearing via videoconference)            18·
                                                               · · · · · ·MR. GRIMES:··My name is Evan Grimes,
 ···· ··WALT MATHERN, Videographer                           19·
                                                               ·attorney for Plaintiff.
17·
  · · ··(Appearing via videoconference)
                                                             20·
                                                               · · · · · ·THE WITNESS:··Rebecca Brigham, Plaintiff.
18·
  ·
19·
  ·                                                          21·
                                                               · · · · · ·MS. KITSON:··Good morning.··Danielle Kitson
20·
  ·                                                          22·
                                                               ·with Littler Mendelson.··We agree that this is a
21·
  ·
22·
  ·                                                          23·
                                                               ·virtual deposition, and with me today is my colleague
23·
  ·                                                          24·
                                                               ·Carolyn Theis from Littler, and also Jacalyn Peter,
24·
  ·
25·
  ·                                                          25·
                                                               ·in-house counsel for Frontier.


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                                                              5                                                                   7
·1·
  · · · · · · · · · ·GERARDO ARELLANO,                            ·1·
                                                                    ·amended it so that we -- that way we could do the
·2·
  ·having been first duly sworn to tell the truth,                ·2·
                                                                    ·deposition virtually?
·3·
  ·testified as follows:                                          ·3·       A.   Yes.
·4·
  · · · · · · · · · · ··EXAMINATION                               ·4·
                                                                    · · ··Q.· ·Okay.··And I -- I notice today that
·5·
  ·BY MR. CRONE:                                                  ·5·
                                                                    ·you're -- you're sitting in a room with a few other
·6·
  · · ··Q.· ·Good morning, Mr. Arellano.··How are you?            ·6·
                                                                    ·people.··How -- how many other people are in the
·7·      A.     I'm doing good.   Good morning.                   ·7·
                                                                    ·room?
·8·
  · · ··Q.· ·Very good.··Well, thanks for coming back             ·8·       A.   There's three others.
·9·
  ·and showing up for Part 2.··I want to give you a               ·9·
                                                                    · · ··Q.· ·Okay.··Do you feel safe being in a room
10·
  ·sense of where we're going today as well.··I think we          10·
                                                                    ·with three other people?
11·
  ·have two hours, maximum, of your time that we'll               11·       A.   I do.
12·
  ·need.                                                          12·
                                                                    · · ··Q.· ·Okay.··If you have any concern about your
13·      A.     Okay.                                             13·
                                                                    ·safety, just like yesterday, please let me know and
14·
  · · ··Q.· ·Hopefully less.                                      14·
                                                                    ·we'll -- and we'll -- we'll -- we'll end this thing
15·      A.     Okay.                                             15·
                                                                    ·and get you out of there, okay?
16·
  · · ··Q.· ·So we'll start.··So -- so some of the                16·       A.   Will do.   Thank you.
17·
  ·questions will be a little bit repetitive to start.            17·
                                                                    · · ··Q.· ·Thank you.
18·      A.     Okay.                                             18·
                                                                    · · · · · ·Okay.··So, Mr. Arellano, when -- when can
19·
  · · ··Q.· ·We covered a lot of ground yesterday, so             19·
                                                                    ·you first recall meeting Plaintiff?
20·
  ·we'll try to -- I'll -- I'll try to be as efficient            20·       A.   It would have been back early when I was
21·
  ·as I can.                                                      21·working in group flight, which is by -- I think
22·
  · · · · · ·And so the first -- first question for you,          22·that's where I initially remember her from, and I was
23·
  ·we -- we talked a lot about your background                    23·one of the inflight managers.
24·
  ·yesterday, that is, the positions you've held at               24·
                                                                    · · ··Q.· ·And what was your -- what was your position
25·
  ·Frontier, your educational background and such.··Do            25·
                                                                    ·in relation to hers?··Did you supervise her, or were

                                                              6                                                                   8
·1·
  ·you remember those questions?                                  ·1·
                                                                    ·you doing something else?
·2·        A.   I do.                                             ·2·       A.   I didn't -- no, I didn't supervise her.      I
·3·
  · · ··Q.· ·Is it fair to incorporate all of that                ·3·was manager of inflight services.       I had supervised
·4·
  ·information here today rather than going back over             ·4·the administrative pieces of the office.
·5·
  ·it?                                                            ·5·
                                                                    · · ··Q.· ·Okay.··And that was, if I remember
·6·        A.   Yes.                                              ·6·
                                                                    ·correctly yesterday -- and please correct me if I'm
·7·
  · · ··Q.· ·Okay.··However, just for the sake of                 ·7·
                                                                    ·wrong -- that would have been in the late 2000s, up
·8·
  ·clarity and -- and the record, can you state your              ·8·
                                                                    ·to 2010 or something?
·9·
  ·current position at Frontier, generally what you do?           ·9·       A.   Yeah, because I think we ended up --
10·        A.   So senior manager of talent acquisition,          10·during the Republic transition -- it would have
11·employee relations.     I oversee the talent acquisition       11·been in 2006, so 2006 and -- 2004, '5, '6 -- '10.
12·team, and in this case, it's made up of three teams.           12·Two thousand, like, eightish.       Yeah, so late 2 --
13·You've got the corporate recruitment team, the                 13·2008, 2009, and 2010.
14·inflight recruitment team.      You've got the pilot           14·
                                                                    · · ··Q.· ·Okay.··That -- that makes sense.··Thank
15·recruitment team, and then I also support the                  15·
                                                                    ·you.
16·employer relation side of the house for the pilot              16·
                                                                    · · · · · ·And -- and so -- so when you first met her,
17·group.                                                         17·
                                                                    ·she was a flight attendant and you were an inflight
18·
  · · ··Q.· ·Thank you.··And then a couple of questions           18·
                                                                    ·manager.··Is -- is that what you stated?
19·
  ·related to the mechanics of today's deposition.                19·       A.   No, manager of inflight services.
20·
  · · · · · ·Do you recall receiving a notice of today's          20·
                                                                    · · ··Q.· ·Got it.··Yeah.··That's right.
21·
  ·deposition that originally asked for the deposition            21·
                                                                    · · · · · ·And at that time, did you -- were -- were
22·
  ·to be in person?                                               22·
                                                                    ·you ever aware of any performance issues with regard
23·        A.   Yes.                                              23·
                                                                    ·to Ms. Brigham?
24·
  · · ··Q.· ·And then do you recall, after that,                  24·       A.   Not that I recall, no.
25·
  ·subsequent to that deposition notice, Plaintiff                25·
                                                                    · · ··Q.· ·And -- and did your -- did your working


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·1·
  ·relationship, that is, the structure of where you              ·1·
                                                                    ·part of this dependability?
·2·
  ·were in the company, manager of inflight services and          ·2·     A.     No, just administrating.    We had a team of
·3·
  ·then Ms. Brigham was a flight attendant, did that              ·3·admins there.     One admin would do the day-to-day,
·4·
  ·change over time?                                              ·4·funnel questions, direct traffic for the admin
·5·     A.   In what form?                                        ·5·office.    And then I tracked just the -- again, the
·6·
  · · ··Q.· ·Did you ever -- did you ever come to                 ·6·administrative pieces: resources, files that were --
·7·
  ·directly supervise her at any point?                           ·7·what they call the V files that existed in the crew
·8·     A.   No.                                                  ·8·room.     But, yeah, primarily administrative.
·9·
  · · ··Q.· ·Okay.··And so -- so -- so during 2008, '9,           ·9·
                                                                    · · ··Q.· ·Okay.··If -- if a flight attendant was
10·
  ·'10 through the end of 2015, with relation to                  10·
                                                                    ·having an issue with attendance, say too many
11·
  ·Ms. Brigham, you were always dealing with                      11·
                                                                    ·absences --
12·
  ·administrative tasks?                                          12·     A.     Uh-huh.
13·     A.   No.     During that time as well, there was a        13·
                                                                    · · ··Q.· ·-- would you get involved in any way?··This
14·dependability piece, so I tracked attendance,                  14·
                                                                    ·is prior to 2010.
15·essentially.                                                   15·     A.     I'm trying to recall.    I was involved in
16·
  · · ··Q.· ·Okay.··Got it.··And -- and that's the                16·the form of accounting for what they showed based off
17·
  ·dependability policy we -- we spoke about briefly              17·of their schedule.
18·
  ·yesterday, right?··Is -- is that what you're                   18·
                                                                    · · ··Q.· ·But would you ever -- would you ever
19·
  ·referring to?                                                  19·
                                                                    ·verbally counsel a flight attendant or issue a
20·     A.   No.     The policy then was different.               20·
                                                                    ·letter?
21·
  · · ··Q.· ·Got it.                                              21·     A.     I believe I did, yes.
22·     A.   It was -- ultimately, it was designed to             22·
                                                                    · · ··Q.· ·Okay.··And -- and that was prior to 2010?
23·just track attendance for the flight attendant group,          23·     A.     That was 2010 and prior.
24·but not one specific group per se.    And also an              24·
                                                                    · · ··Q.· ·Okay.
25·extension of that was the leave-of-absence tracking.           25·     A.     Before -- yeah, when I was involved in that

                                                             10                                                                 12
·1·It was more of the data-tracking pieces of -- of the           ·1·role.
·2·dependability aspects of the flight attendant group.           ·2·
                                                                    · · · · · ·THE REPORTER:··I'm sorry?
·3·
  · · ··Q.· ·Okay.··So how long -- so -- so when                  ·3·
                                                                    · · · · · ·THE WITNESS:··When I was in that role.
·4·
  ·you're -- when you're describing this for me now, are          ·4·
                                                                    · · ··Q.· ·(BY MR. CRONE)··Do you recall Ms. Brigham
·5·
  ·you talking about from 2008 or so until some date              ·5·
                                                                    ·having any attendance issues prior to 2010?
·6·
  ·when the dependability program was more formalized?            ·6·     A.     Not offhand, no.
·7·     A.   Say that again.                                      ·7·
                                                                    · · ··Q.· ·Okay.··Now, after 2010, is that when the
·8·
  · · ··Q.· ·So -- so what you had just described for             ·8·
                                                                    ·dependability policy was written down and made
·9·
  ·me, that you are tracking attendance for the flight            ·9·
                                                                    ·formal?
10·
  ·attendant group, by extension, the leave-of-absence            10·     A.     After 2010?
11·
  ·tracking occurred as well, was that prior to the               11·
                                                                    · · ··Q.· ·Yes.
12·
  ·impletation [sic] of -- implementation of the formal           12·     A.     I believe so.    I don't know about written
13·
  ·dependability policy?                                          13·down and made formal.       I know it changed, so . . .
14·     A.   As it exists today?                                  14·
                                                                    · · ··Q.· ·Okay.··Well, that's -- that's fair.··So
15·
  · · ··Q.· ·Yes.                                                 15·
                                                                    ·how -- how did it change in 2010?
16·     A.   Yeah.     So it was way before that.                 16·     A.     I would have to go and look at the
17·
  · · ··Q.· ·Okay.··Yeah.··And so what -- what dates are          17·dependability policy then.       I can't recall.
18·
  ·you describing here?                                           18·
                                                                    · · ··Q.· ·And I've seen a -- I've seen a written --
19·     A.   That would have been prior to 2010.                  19·
                                                                    ·I've seen a written policy.··Did -- can you recall
20·
  · · ··Q.· ·Got it.··Okay.                                       20·
                                                                    ·what date it was actually written down?
21·     A.   Yeah.                                                21·     A.     That, I don't.
22·
  · · ··Q.· ·So -- so prior to 2010, you would track              22·
                                                                    · · ··Q.· ·Okay.
23·
  ·attendance for the flight attendants group and do              23·     A.     I don't know.
24·
  ·some leave-of-absence tracking.                                24·
                                                                    · · ··Q.· ·And I know you just stated you can't recall
25·
  · · · · · ·Was there anything else you were doing as            25·
                                                                    ·how the policy changed after 2010 --


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                                                              13                                                              15
·1·     A.      Uh-huh.                                            ·1·down how the occurrence took place.      For example,
·2·
  · · ··Q.· ·-- but can you recall any of the                      ·2·a sick call could be worth one point.      If the
·3·
  ·differences?··Were there different consequences for             ·3·individual called in late sick, is what they call it,
·4·
  ·the flight attendants if they were absent or anything           ·4·that was an additional half point.
·5·
  ·like that?                                                      ·5·          So half points were introduced into the
·6·     A.      From what time period?                             ·6·dependability, but the total number of occurrences
·7·
  · · ··Q.· ·After 2010.                                           ·7·one was allowed did not change.     It was everything in
·8·     A.      Through . . .                                      ·8·between first occurrence through the end.
·9·
  · · ··Q.· ·Through the end of -- through the end of              ·9·
                                                                     · · ··Q.· ·Okay.
10·
  ·2015.··I'm sorry.                                               10·     A.      Not end, but the point system changed.
11·     A.      At that time, I believe it was just based          11·
                                                                     · · ··Q.· ·So the occurrences were scored differently;
12·on occurrence.       So an occurrence -- they called it --      12·
                                                                     ·is that -- is that fair?
13·at that time, I think they said an occurrence is an             13·     A.      Not that the occurrences were scored
14·occurrence, but I can't remember the specifics in               14·differently; they just introduced a different
15·terms of the -- the meat within those policies.                 15·component to it.
16·
  · · ··Q.· ·Okay.··And then between 2010, whenever it             16·
                                                                     · · ··Q.· ·Okay.··And -- and -- and maybe that's the
17·
  ·is in 2010 -- after 2010 when the policy changed and            17·
                                                                     ·point system generally.··Or am I not --
18·
  ·then through the end of 2015, can you recall                    18·     A.      That's the -- yeah.
19·
  ·Ms. Brigham having any attendance issues?                       19·
                                                                     · · ··Q.· ·Okay.
20·     A.      Between 2010 and 2015?                             20·     A.      Yeah.
21·
  · · ··Q.· ·Yeah.                                                 21·
                                                                     · · ··Q.· ·So going back to the time period between
22·     A.      In 2010, I believe that's when I left the          22·
                                                                     ·2012 when you came back to Frontier --
23·organization.       I came back in 2012, so in that time        23·     A.      Uh-huh.
24·period I can't speak to.                                        24·
                                                                     · · ··Q.· ·-- and the end of 2015, if a flight
25·
  · · ··Q.· ·All right.                                            25·
                                                                     ·attendant took a sick day, for example, how was

                                                              14                                                              16
·1·     A.      In 2012, I was the employee relations              ·1·
                                                                     ·that -- was the flight attendant given some sort
·2·manager, so possibly between 2012 and 2015, yes.                ·2·
                                                                     ·of -- I don't want to say point, because you just
·3·
  · · ··Q.· ·Okay.··And can you -- can you -- is there a           ·3·
                                                                     ·said the point system is new, but was there some sort
·4·
  ·way for you to describe for me what those attendance            ·4·
                                                                     ·of scoring or something because the flight attendant
·5·
  ·issues were, the nature of those attendance issues              ·5·
                                                                     ·took that day off?
·6·
  ·between 2012 and the end of 2015?                               ·6·     A.      If they called in sick and it was qualified
·7·     A.      In general or regarding Rebecca?                   ·7·and classified or coded as sick, yes, it would be
·8·
  · · ··Q.· ·Regarding Rebecca.                                    ·8·one -- it would be one occurrence.
·9·     A.      I would have to refer to the documents.            ·9·
                                                                     · · ··Q.· ·Okay.··Even if they had -- did flight
10·Yeah, I -- I can't specifically off recollection.               10·
                                                                     ·attendants accrue sick time?
11·
  · · ··Q.· ·So -- so you can't, sitting here today,               11·     A.      Through -- yes.   Through the automated
12·
  ·remember the nature of any one of those attendance              12·accrual system, yes.
13·
  ·issues?                                                         13·
                                                                     · · ··Q.· ·Okay.··So if they had sick time accrued and
14·     A.      I would have to refer to the documents.            14·
                                                                     ·available to use, would they still be -- be given
15·Yeah.                                                           15·
                                                                     ·this occurrence point?
16·
  · · ··Q.· ·And what about after the end of 2015?··Did            16·     A.      Repeat that again.
17·
  ·the dependability policy change at all between the              17·
                                                                     · · ··Q.· ·Yeah.··Sorry.··It was a little -- a little
18·
  ·end of 2015 and -- and now?                                     18·
                                                                     ·confusing.
19·     A.      Yes.                                               19·
                                                                     · · · · · ·So -- so you had said that flight
20·
  · · ··Q.· ·And how so?                                           20·
                                                                     ·attendants accrued sick time, and if they had enough
21·     A.      Between that time period through present,          21·
                                                                     ·sick time accrued and then used a sick day, would
22·it went from an occurrence over to a point system.              22·
                                                                     ·they still be scored this occurrence?
23·
  · · ··Q.· ·And -- and what does -- what does that                23·     A.      Yes.
24·
  ·mean?··How -- how does the point system work?                   24·
                                                                     · · ··Q.· ·Okay.··What if they -- did the flight
25·     A.      The point system is designed to then break         25·
                                                                     ·attendants accrue vacation time?


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                                                              17                                                              19
·1·     A.      Yes.                                               ·1·if you will.
·2·
  · · ··Q.· ·And if they used vacation time, would they            ·2·
                                                                     · · ··Q.· ·Got it.
·3·
  ·also be scored this occurrence?                                 ·3·     A.    But if they called -- go ahead.
·4·     A.      I guess repeat that again.                         ·4·
                                                                     · · ··Q.· ·I'm sorry.··Say that -- go ahead, go ahead.
·5·
  · · ··Q.· ·Yeah.··And just to be clear, I'm talking              ·5·     A.    If they call in sick and that occurrence is
·6·
  ·about the time period 2012, the -- the end of 2013              ·6·not recoded to anything else and the sick occurrence
·7·
  ·before the policy changed again.                                ·7·stands, then, yes, that counts towards the
·8·
  · · · · · ·And -- and I was asking, if -- if a flight            ·8·dependability.
·9·
  ·attendant used their vacation time, would they also             ·9·
                                                                     · · ··Q.· ·Yeah.··And -- and -- and that makes sense
10·
  ·be scored some type of occurrence under this policy?            10·
                                                                     ·to me.
11·     A.      I guess that's a -- I'm still not                  11·
                                                                     · · · · · ·So the -- so if -- if the flight attendant
12·understanding.      Just to clarify, are you asking if a        12·
                                                                     ·had the IFM already approved and was using one of
13·flight attendant -- if a flight attendant took a                13·
                                                                     ·those days --
14·vacation time, would they accrue an occurrence of               14·     A.    Uh-huh.
15·attendance, or . . .                                            15·
                                                                     · · ··Q.· ·-- whether or not the flight attendant has
16·
  · · ··Q.· ·Correct.··Yeah, yeah, correct.                        16·
                                                                     ·sick time to be paid for the day, it won't count as
17·     A.      I don't believe so.   So just -- if they --        17·
                                                                     ·an infraction?
18·they took a vacation day, let's say, today, would               18·     A.    It won't count as an infraction, correct.
19·that count against their dependability?      Is that what       19·
                                                                     · · ··Q.· ·But if they use the sick time to -- to --
20·you're asking?                                                  20·
                                                                     ·to make sure they're paid for the day they're out, it
21·
  · · ··Q.· ·That's exactly what I'm asking.                       21·
                                                                     ·still won't count as infraction because they had the
22·     A.      No, not to my knowledge.                           22·
                                                                     ·IFM accrued?
23·
  · · ··Q.· ·Okay.··But if they took the sick time, it             23·     A.    Okay.     Say that again.
24·
  ·would?                                                          24·
                                                                     · · ··Q.· ·If they used the sick time to make sure
25·     A.      Towards their dependability, yes.                  25·
                                                                     ·they're paid for that IFM day that they're out --

                                                              18                                                              20
·1·
  · · ··Q.· ·Okay.··Okay.··What about --                           ·1·     A.    Uh-huh.
·2·     A.      To clarify --                                      ·2·
                                                                     · · ··Q.· ·-- it wouldn't count as an infraction -- an
·3·
  · · ··Q.· ·I'm sorry.··Go ahead.                                 ·3·
                                                                     ·infraction because the IFM was already approved; is
·4·     A.      To clarify, sick can be a little bit               ·4·
                                                                     ·that correct?
·5·different.    If it's coded under LOA and they're using         ·5·     A.    Yeah, if they requested IFM for that day.
·6·their sick time, then that's not counted against                ·6·
                                                                     · · ··Q.· ·Okay.
·7·dependability.                                                  ·7·     A.    So it's also -- it's a two-part system.
·8·          If it's only a sick day for what they're              ·8·The flight attendant would need to have requested
·9·calling in -- for example, if an individual had IFM,            ·9·intermittent FMLA on that day, and then that gets
10·intermittent FMLA, and they used sick time to get               10·recoded.   So if the trip is recoded to IFM, then yes
11·paid for that time, it didn't count against their               11·to your question.
12·dependability.                                                  12·
                                                                     · · ··Q.· ·So it -- so it can be -- it can be -- the
13·          So if they call -- called in sick and it              13·
                                                                     ·trip could be retroactively recoded?··So in other
14·is re -- it's not recoded, then in that moment, yes,            14·
                                                                     ·words, a flight attendant could call out sick.
15·it would count against their dependability.                     15·
                                                                     ·Initially that would be an infraction, but -- but
16·
  · · ··Q.· ·Okay.··So in order for it to count, they              16·
                                                                     ·perhaps it could be retroactively recoded as IFM, and
17·
  ·would have to -- they would have to call in sick, and           17·
                                                                     ·then it wouldn't count as an infraction?
18·
  ·they could be using their sick time, and -- and then            18·     A.    If the request for intermittent FMLA was
19·
  ·it would count.··But if it -- is that correct?                  19·done within 24 hours.
20·     A.      So -- because they could be -- if they             20·
                                                                     · · ··Q.· ·Okay.
21·called in sick, which essentially -- if they called             21·     A.    So there's a time period to request the
22·in intermittent FMLA, the trip is covered under                 22·recode, if you will.
23·intermittent FMLA, but they're using their sick time.           23·
                                                                     · · ··Q.· ·Okay.··Okay.
24·So in that moment, it does not count towards their              24·     A.    And in that example, yes.
25·dependability.      They're not receiving an infraction,        25·
                                                                     · · ··Q.· ·Okay.··Okay.··Good.


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                                                              21                                                                 23
·1·
  · · · · · ·And what about after the end of 2015 when             ·1·because they had not initially bid for it one year in
·2·
  ·you said the policies changed?··Has it changed at all           ·2·advance.     They have the opportunity to slide it back
·3·
  ·in regard to how an infraction might -- might be                ·3·or forth, but yet that's through a different process.
·4·
  ·given or not given when somebody calls in sick?                 ·4·But, yeah, the scheduled vacations don't count
·5·       A.    In what -- what form, I guess?     Did what        ·5·against them.
·6·change?     I'm not following you.                              ·6·
                                                                     · · ··Q.· ·Okay.··So -- and -- and I -- and I think --
·7·
  · · ··Q.· ·Has it -- has it -- has it changed in any             ·7·
                                                                     ·and I appreciate that clarification.··I think
·8·
  ·way?··So since the end of 2015, the dependability               ·8·
                                                                     ·you're -- you're getting at something else, so --
·9·
  ·policy --                                                       ·9·
                                                                     ·so -- and I want to make sure I understand that.
10·       A.    Uh-huh.                                            10·
                                                                     · · · · · ·When a -- when a flight attendant wants to
11·
  · · ··Q.· ·-- has it changed in any way with regard to           11·
                                                                     ·use vacation time, they have to plan that pretty far
12·
  ·how people are given infractions?                               12·
                                                                     ·in advance?
13·       A.    When you say "given" -- I guess I'm getting        13·     A.      For time off, vacation, yes.
14·lost in how they're given.        You mean when they accrue     14·
                                                                     · · ··Q.· ·Yeah.··Okay.··And -- and -- and, therefore,
15·an infraction, or . . .                                         15·
                                                                     ·it doesn't count against them under the dependability
16·
  · · ··Q.· ·Yeah.··So we had just -- you had just                 16·
                                                                     ·policy?
17·
  ·described for me a scenario where a flight attendant            17·     A.      When it's scheduled vacation, correct.
18·
  ·might call in sick --                                           18·
                                                                     · · ··Q.· ·Correct.··Okay.··And -- and that's the same
19·       A.    Yes.                                               19·
                                                                     ·since 2015 and before 2015, right?
20·
  · · ··Q.· ·-- and then they're -- and then that's an             20·     A.      Correct.   Yes.
21·
  ·infraction.                                                     21·
                                                                     · · ··Q.· ·Okay.
22·       A.    Uh-huh.                                            22·     A.      They have to bid for their schedule, yeah.
23·
  · · ··Q.· ·So just -- just sticking with that sort of            23·So for December, start bidding their schedule for
24·
  ·basic scenario, no IFM included or anything --                  24·next year.
25·       A.    Okay.                                              25·
                                                                     · · ··Q.· ·Okay.··Are there -- are there any other

                                                              22                                                                 24
·1·
  · · ··Q.· ·-- since 2015, does it still operate that             ·1·
                                                                     ·types of time off a flight attendant can -- can
·2·
  ·way?··If a flight attendant just calls in sick, will            ·2·
                                                                     ·accrue?··I mean, I -- so I've asked you about sick
·3·
  ·he or she be given an infraction?                               ·3·
                                                                     ·time and vacation time just because I assume Frontier
·4·       A.    Yeah.     Towards the dependability policy,        ·4·
                                                                     ·offers that, but -- but is there any other time of --
·5·yes.                                                            ·5·
                                                                     ·of accrued -- or any other type of accrued time off?
·6·
  · · ··Q.· ·Okay.··What about if it was -- if they were           ·6·     A.      During what time period?   '11 through '15?
·7·
  ·using IFM time?                                                 ·7·
                                                                     · · ··Q.· ·Yeah, let's start '11 through '15.
·8·       A.    No.                                                ·8·     A.      There was a provision in the contract that
·9·
  · · ··Q.· ·Okay.··And what about if they were using              ·9·allowed them to accrue one day if they had perfect
10·
  ·vacation time?                                                  10·attendance.
11·       A.    And, again, that's where I'm getting lost.         11·
                                                                     · · ··Q.· ·For a calendar year or for six months or --
12·Are -- are you asking vacation with intermittent FMLA           12·
                                                                     ·or do you know?
13·or just a strict vacation?                                      13·     A.      Six months.   I believe it was six months.
14·
  · · ··Q.· ·Just -- just I have vacation time accrued;            14·But outside of that, they -- there was no other
15·
  ·I'm going to the beach.                                         15·option to approve time, that I can recall, at this
16·       A.    For a flight -- and I guess this is why it         16·point.
17·gets confusing.        A flight attendant has to bid for        17·
                                                                     · · ··Q.· ·Okay.··What about from '15 onward to the
18·their vacation one year in advance.        So if the            18·
                                                                     ·present?
19·vacation is scheduled, that does not count against              19·     A.      Nothing outside of that perfect attendance,
20·their dependability.                                            20·that I can think of.
21·
  · · ··Q.· ·Okay.··Okay.                                          21·
                                                                     · · ··Q.· ·Okay.
22·       A.    So --                                              22·     A.      There may be, but I just -- it's not coming
23·
  · · ··Q.· ·Yeah, yeah.                                           23·to my memory.
24·       A.    So a flight attendant can't simply say,            24·
                                                                     · · ··Q.· ·Okay.··A quick follow-up on the -- the --
25·Hey, I'm going to take tomorrow as a vacation,                  25·
                                                                     ·you -- you told me that if somebody called in sick,


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                                                           25                                                                   27
·1·
  ·within 24 hours they can make a request to -- to             ·1·
                                                                  · · · · · ·So -- so do you recall yesterday we
·2·
  ·retroactively code that as IFM?                              ·2·
                                                                  ·spoke -- we spoke at some length about what it is a
·3·     A.   Correct.                                           ·3·
                                                                  ·flight attendant does day to day?
·4·
  · · ··Q.· ·Is there any reason why the policy is 24           ·4·     A.      Yeah.
·5·
  ·hours?··Do -- do you know?                                   ·5·
                                                                  · · ··Q.· ·Okay.··Have those duties changed at all
·6·     A.   Not specifically.                                  ·6·
                                                                  ·from 2015 onward to the present?
·7·
  · · ··Q.· ·Okay.                                              ·7·     A.      From when again?     The time period?
·8·     A.   I -- I don't know the background to that.          ·8·
                                                                  · · ··Q.· ·From the time period 2011 -- so yesterday
·9·
  · · ··Q.· ·Okay.··Is it different -- if somebody -- if        ·9·
                                                                  ·we talked about what flight attendants do from the
10·
  ·somebody requests to have the trip recoded to IFM            10·
                                                                  ·end of 2011 to the end of 2015.
11·
  ·within the 24-hour period, does it matter -- and I'm         11·     A.      Uh-huh.
12·
  ·asking just about applying the 24-hour period -- does        12·
                                                                  · · ··Q.· ·And I'm curious if there's anything --
13·
  ·it matter whether that person has made a request for         13·
                                                                  ·and -- and it doesn't have to be small, minute
14·
  ·a reasonable accommodation?                                  14·
                                                                  ·details, but any -- any -- if there's anything that
15·     A.   You lost me again.                                 15·
                                                                  ·sticks out in your mind as having changed in what a
16·
  · · ··Q.· ·Yeah.··So -- so after -- so a person calls         16·
                                                                  ·flight attendant does day to day from the end of 2015
17·
  ·in sick.··They want to re -- they -- they want to            17·
                                                                  ·to the present.
18·
  ·recode the sick day as an IFM day, and they've got 24        18·     A.      Yes.     A lot of it is -- now they do sales
19·
  ·hours to do it.                                              19·onboard.     A lot of that.     So that's changed since
20·     A.   Okay.                                              20·then.
21·
  · · ··Q.· ·Does -- does Frontier -- does it matter at         21·
                                                                  · · ··Q.· ·Okay.
22·
  ·all whether or not the person has made a request for         22·     A.      Trying to think.     Yeah, other things within
23·
  ·a reasonable accommodation?                                  23·the day-to-day has possibly changed, but I can't
24·
  · · · · · ·So what I'm asking is could they have 36           24·account for them all.        But one that comes to mind is
25·
  ·hours in that instance, or is it just 24 hours no            25·the sales.    We do more sales onboard.

                                                           26                                                                   28
·1·
  ·matter what?                                                 ·1·
                                                                  · · ··Q.· ·And what are they selling?
·2·     A.   In certain cases, we kind of assess the            ·2·     A.      They sell from -- it -- again, from that
·3·situation to determine what -- the nature of the             ·3·time period, a change -- at one point we were doing
·4·request or is there a condition, was there something         ·4·boxes.     They were doing some form of meals, and then
·5·that prohibited them from making that 24-hour                ·5·it changed to dry snacks.       And then the dry snacks
·6·notification.     We would take that into consideration.     ·6·then changed to certain potato chips.
·7·
  · · ··Q.· ·Okay.··So -- so there's flexibility in the         ·7·            Drinks, obviously.      We served wine at one
·8·
  ·policy?                                                      ·8·point, different types of wine, and then we also
·9·     A.   No.     You had to call within that 24-hour        ·9·do -- the credit card promotion was also included as
10·time period, but if there's something precluding that        10·part of that.        And the devices also changed, so . . .
11·individual in that moment -- I mean, there's many            11·
                                                                  · · ··Q.· ·Okay.··Do you recall yesterday we talked
12·medical conditions that potentially could be.    We          12·
                                                                  ·generally about what benefits are afforded to flight
13·would have to assess it in that minute.                      13·
                                                                  ·attendants, so medical insurance?
14·
  · · ··Q.· ·Got it.··So --                                     14·     A.      Yes.
15·     A.   But -- but we -- everybody had to call             15·
                                                                  · · ··Q.· ·Okay.
16·within 24 hours of that.                                     16·     A.      Yes.
17·
  · · ··Q.· ·Yeah.··But I guess what I'm asking is so           17·
                                                                  · · ··Q.· ·Has anything changed from the end of 2015
18·
  ·it's not an absolutely rigid policy because you might        18·
                                                                  ·to the present in terms of what benefits are offered
19·
  ·make an exception if somebody had some condition that        19·
                                                                  ·to flight attendants?
20·
  ·prevented them from complying with the 24 hours?             20·     A.      Are you -- has -- different benefits, are
21·     A.   Sure.     Yeah.                                    21·you asking?     Or changes within the benefits or types
22·
  · · ··Q.· ·Okay.··All right.··So I want to -- I want          22·of benefits?
23·
  ·to ask you, hopefully in -- in a -- in a -- in an            23·
                                                                  · · ··Q.· ·So -- so not changes within the plan --
24·
  ·efficient way, about the job duties of flight                24·     A.      Yeah.
25·
  ·attendants.                                                  25·
                                                                  · · ··Q.· ·-- within the insurance plan, but -- but --


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                                                               29                                                             31
·1·
  ·but types of benefits.                                           ·1·
                                                                      · · ··Q.· ·And when did that occur?
·2·     A.     We do -- I think we offer company-paid LTD,          ·2·     A.   I think January of 2019.   Possibly around
·3·long-term disability.       So at one point, the employee        ·3·there.
·4·paid for it.       Now we -- the company pays for                ·4·
                                                                      · · ··Q.· ·Okay.··Do you know if Frontier agreed to
·5·long-term disability.                                            ·5·
                                                                      ·any new obligations under the -- the new collective
·6·
  · · ··Q.· ·Okay.                                                  ·6·
                                                                      ·bargaining agreement with regard to seniority or how
·7·     A.     And the company also pays for vision as              ·7·
                                                                      ·shift bidding works?
·8·well, and I believe dental.      But yeah.   But primarily       ·8·     A.   Can you say that again?
·9·the long-term disability was the biggest change.                 ·9·
                                                                      · · ··Q.· ·Do you -- do you know if -- if Frontier
10·
  · · ··Q.· ·And so when you say pay for long-term                  10·
                                                                      ·agreed to any new structure in the collective
11·
  ·disability, vision, and dental, you mean the company             11·
                                                                      ·bargaining agreement that -- that dictates how shift
12·
  ·pays the entirety of the premium?                                12·
                                                                      ·bidding and seniority works?
13·     A.     Correct.                                             13·
                                                                      · · · · · ·MS. KITSON:··I'm going to object at this
14·
  · · ··Q.· ·Okay.··And then medical is still split in              14·
                                                                      ·point.··I mean, I've been letting this go pretty far
15·
  ·some way?                                                        15·
                                                                      ·afield just for general background and general policy
16·     A.     Yes.     The employee pays a portion.                16·
                                                                      ·information, but we're now into 2019.
17·
  · · ··Q.· ·Yesterday, we also talked a fair amount                17·
                                                                      · · · · · ·That's way outside the relevant time
18·
  ·about the Frontier self-disclosure plan.··Do you                 18·
                                                                      ·period, and I'm going to instruct him not to answer
19·
  ·recall that?                                                     19·
                                                                      ·that question.··It's going to reveal confidential
20·     A.     I do.                                                20·
                                                                      ·information about union negotiations.··He's not
21·
  · · ··Q.· ·Okay.··Has anything changed with regard to             21·
                                                                      ·answering that question.
22·
  ·the self-disclosure plan from the end of 2015 to now?            22·
                                                                      · · · · · ·MR. CRONE:··Well, he's -- he's -- so
23·     A.     I believe so.     I think it was what was            23·
                                                                      ·your -- your objection on relevance is noted, but you
24·determined self-disclosure.                                      24·
                                                                      ·can't instruct to answer based on relevance -- or
25·
  · · ··Q.· ·And -- and what does that mean?                        25·
                                                                      ·instruct not to answer based on relevance.

                                                               30                                                             32
·1·     A.     By simply including it on your FMLA                  ·1·
                                                                      · · · · · ·Moreover, I'm not asking him to -- to
·2·application, that could be interpreted that you're               ·2·
                                                                      ·reveal the negotiations.··Literally, I'm asking
·3·self-disclosing to the company.      And I'm not -- I'm          ·3·
                                                                      ·whether a new seniority provision now exists or
·4·trying to figure out when that was rolled out, but               ·4·
                                                                      ·doesn't exist.
·5·that was a change between 2015 and present.                      ·5·
                                                                      · · · · · ·Any flight attendant at Frontier would
·6·
  · · ··Q.· ·Okay.··Anything else that you can recall?              ·6·
                                                                      ·probably know this information; any management
·7·     A.     You say specific to change within the                ·7·
                                                                      ·official would probably know this information.··It's
·8·reporting structure or -- I do -- I know we changed              ·8·
                                                                      ·not confidential in any way.
·9·vendors of who we used.       But other than that, I can't       ·9·
                                                                      · · · · · ·MS. KITSON:··And I am invoking the
10·recall any other specific change.                                10·
                                                                      ·protective order provisions of the federal rules to
11·
  · · ··Q.· ·Okay.··What about generally with regard to             11·
                                                                      ·say that this is so far outside the field and impacts
12·
  ·substance abuse, alcohol or drugs?··Does Frontier                12·
                                                                      ·current flight attendant negotiations and the
13·
  ·have any new or different programs from the end of               13·
                                                                      ·collective bargaining agreement.··I'm not letting him
14·
  ·2015 to now?                                                     14·
                                                                      ·answer that question.
15·     A.     I can't recall.     I would have to look at          15·
                                                                      · · · · · ·If we need to call the judge, that's
16·the employee handbook, if it's something referenced              16·
                                                                      ·perfectly fine, but I don't see -- and relevance does
17·in there.                                                        17·
                                                                      ·play into that in the sense of whether this is unduly
18·
  · · ··Q.· ·Sure.··Do you know if the flight attendants            18·
                                                                      ·harassing or prying into the business affairs of the
19·
  ·and Frontier had negotiated any new or different                 19·
                                                                      ·company unnecessarily.
20·
  ·collective bargaining agreement since the end of                 20·
                                                                      · · · · · ·MR. CRONE:··Well, let's -- let's attack
21·
  ·2015?                                                            21·
                                                                      ·the relevance.··First, the -- the relevance is clear.
22·     A.     Like renegotiated the agreement?        Yes.         22·
                                                                      · · · · · ·So -- so part of the reason Frontier
23·
  · · ··Q.· ·Correct.··Okay.··Do you know how many                  23·
                                                                      ·testified it couldn't accommodate Ms. Brigham was
24·
  ·times?                                                           24·
                                                                      ·due to the seniority provision in the collective
25·     A.     Once.                                                25·
                                                                      ·bargaining agreement.


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                                                          33                                                                35
·1·
  · · · · · ·Whether that's different now is -- is             ·1·
                                                                 · · · · · ·MS. KITSON:··Yeah, employees of the
·2·
  ·absolutely relevant to her claims.··And -- and the          ·2·
                                                                 ·company.··Current flight attendant employees have a
·3·
  ·case law is clear on that.··We've already taken this        ·3·
                                                                 ·copy of it, internal to the company.··It's not posted
·4·
  ·issue to the judge, and Frontier did not prevail on         ·4·
                                                                 ·online.
·5·
  ·this issue last time we were before the judge.              ·5·
                                                                 · · · · · ·MR. CRONE:··Every flight attendant could
·6·
  · · · · · ·And, again, there's nothing confidential,         ·6·
                                                                 ·publish that thing online if they wanted to.··There's
·7·
  ·work product proprietary about a provision in a             ·7·
                                                                 ·absolutely nothing stopping them.··And so to say it's
·8·
  ·collective bargaining agreement that exists out in          ·8·
                                                                 ·confidential is -- it's not -- it's not -- it's
·9·
  ·the world right now.··I'm simply --                         ·9·
                                                                 ·disingenuous.
10·
  · · · · · ·MS. KITSON:··We --                                10·
                                                                 · · · · · ·I just -- I just want to ask if the policy
11·
  · · · · · ·MR. CRONE:··-- asking -- I'm simply               11·
                                                                 ·is different now than it was before.··The policy
12·
  ·asking Mr. Arellano if he knows whether that                12·
                                                                 ·lives in the collective bargaining agreement.··The
13·
  ·provision is different than it was under the regime         13·
                                                                 ·collective bargaining agreement is -- is in the hands
14·
  ·that Mr. [sic] Brigham lived under.··That's a               14·
                                                                 ·of hundreds, probably thousands of people out there
15·
  ·perfectly fine, relevant, permissible question.             15·
                                                                 ·in the world.··That's it.
16·
  · · · · · ·And -- and if -- and if you're going to --        16·
                                                                 · · · · · ·MS. KITSON:··I mean, a -- a company has a
17·
  ·if you're going to stand on this hill, then let's           17·
                                                                 ·right to publish and to provide access to information
18·
  ·call the judge.                                             18·
                                                                 ·to its employees and to keep that confidential.
19·
  · · · · · ·MS. KITSON:··Okay.··I think that's fine.··I       19·
                                                                 · · · · · ·Nevertheless, I will allow him to answer
20·
  ·mean, and that is not what the ruling was.··We went         20·
                                                                 ·as to what the current state of the collective
21·
  ·to the judge.··We defined the relevant time period,         21·
                                                                 ·bargaining agreement is.··I will not allow him to
22·
  ·and the relevant time period, by court order, was           22·
                                                                 ·answer as to the negotiations that went into that.
23·
  ·defined as November 2011 through November 2015.             23·
                                                                 ·Is that --
24·
  · · · · · ·So, you know, I've allowed you to answer          24·
                                                                 · · · · · ·MR. CRONE:··I'm not asking about the
25·
  ·some -- ask some questions about general policies,          25·
                                                                 ·negotiations.··I'm -- I'm asking -- I -- I -- the --

                                                          34                                                                36
·1·
  ·but when you get into union -- union negotiations,          ·1·
                                                                 ·the question only asks what the policy is.
·2·
  ·what was negotiated and the dynamics of that four           ·2·
                                                                 · · · · · ·So thank you, Danielle.··I appreciate it.
·3·
  ·years after the fact, we're not going to go there.··I       ·3·
                                                                 ·Let's -- let's carry on.
·4·
  ·mean, I'm happy to call the judge, if you'd like.           ·4·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Mr. Arellano, I'm -- I'm --
·5·
  · · · · · ·MR. CRONE:··Well, to -- to be -- to be            ·5·
                                                                 ·I'm going to repeat the question for you because it's
·6·
  ·clear, what I meant by we've already addressed this         ·6·
                                                                 ·probably lost in the depths of your mind somewhere
·7·
  ·issue is what the scope of relevance is.··And -- and        ·7·
                                                                 ·after that.
·8·
  ·we agreed at that point, before we went to the judge        ·8·
                                                                 · · · · · ·So -- so the question I was asking is, with
·9·
  ·last time, that we'd cap it at the end of 2015 just         ·9·
                                                                 ·regard to the -- the seniority and the shift-bidding
10·
  ·to prevent the argument, but the scope of what's            10·
                                                                 ·provision that existed in the -- in the collective
11·
  ·relevant still extends to all of the -- the                 11·
                                                                 ·bargaining agreement between 2011 and 2015 that we
12·
  ·employer's general practices.                               12·
                                                                 ·discussed with -- with respect to Ms. Brigham
13·
  · · · · · ·And here, we're -- we're not asking for --        13·
                                                                 ·yesterday -- so I just want to focus you right in on
14·
  ·again, we're not asking for anything that's                 14·
                                                                 ·just the -- that provision.
15·
  ·confidential, proprietary, protected in any way.··And       15·
                                                                 · · · · · ·Today, from 2015 to now, is that provision
16·
  ·so --                                                       16·
                                                                 ·any different in the collective bargaining agreement?
17·
  · · · · · ·MS. KITSON:··You are asking for                   17·
                                                                 · · · · · ·MS. KITSON:··Object to form.··Vague and
18·
  ·confidential, proprietary information that's                18·
                                                                 ·ambiguous as to "that provision."··Are you asking him
19·
  ·protected.··This is not something the company               19·
                                                                 ·generally how bidding works?··Are you pointing to a
20·
  ·publishes.                                                  20·
                                                                 ·specific CBA provision?
21·
  · · · · · ·MR. CRONE:··It's published in the                 21·
                                                                 · · · · · ·MR. CRONE:··Your objection is noted.··I
22·
  ·collective bargaining agreement right now because --        22·
                                                                 ·think he can answer if he understands.
23·
  ·because he said they -- they -- he just testified           23·     A.      Yeah, I truly don't know.   I was -- since
24·
  ·that they renegotiated in January 2019.··Every flight       24·I've handled more on the pilot side since then, I
25·
  ·attendant right now has a copy of it.                       25·haven't been involved in much of the flight attendant


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·1·contract, so I don't have much of the details from            ·1·
                                                                   · · · · · ·MS. KITSON:··I'll let him speak generally
·2·the flight attendant contract anyway.                         ·2·
                                                                   ·to that, but I'm not going to -- and as to flight
·3·
  · · ··Q.· ·That's fair.··Thank you.                            ·3·
                                                                   ·attendants, but beyond that, we're getting a little
·4·     A.     Yeah.                                             ·4·
                                                                   ·too far afield.··But can you ask -- can you ask the
·5·
  · · ··Q.· ·Yesterday, you talked a fair amount about           ·5·
                                                                   ·question again?
·6·
  ·what -- what happens at Frontier if -- if -- if               ·6·
                                                                   · · · · · ·MR. CRONE:··So -- so -- so, Danielle,
·7·
  ·Frontier, you know, know -- knows that somebody has a         ·7·
                                                                   ·let's -- let's try to clear this up now.
·8·
  ·disability.··And so -- so you called that the                 ·8·
                                                                   · · · · · ·So I'm entitled -- this isn't the 30(b)(6)
·9·
  ·interactive process, and you -- you took me through           ·9·
                                                                   ·deposition, so I -- I'm -- I'm entitled to inquire of
10·
  ·all those steps.··Do -- do you recall that?                   10·
                                                                   ·anything that's discoverable.
11·     A.     Yes.                                              11·
                                                                   · · · · · ·And so -- so it's not a -- so -- so -- so
12·
  · · ··Q.· ·Has anything changed with regard to that            12·
                                                                   ·here the question is, from the end of 2015 onward,
13·
  ·interactive process at Frontier between the end of            13·
                                                                   ·has Mr. Arellano been involved in any -- any
14·
  ·2015 to now?                                                  14·
                                                                   ·interactive processes in which a flight attendant was
15·     A.     When you say "changed," with regard to how        15·
                                                                   ·granted the reasonable accommodations that were
16·we handle it or steps?    I mean, what specifically?          16·
                                                                   ·denied to Ms. Brigham.··It's clearly relevant.··It's
17·
  · · ··Q.· ·That -- that's correct, how -- how you              17·
                                                                   ·proper.··It's discoverable.
18·
  ·handle it.··So the steps you outlined yesterday for           18·
                                                                   · · · · · ·And so if we agree on that much, then let's
19·
  ·me.··And we can go back over them if you don't                19·
                                                                   ·carry on with the deposition.··If we can't agree and
20·
  ·remember, but -- but if you do remember and you can           20·
                                                                   ·we're going to keep getting delayed with these long
21·
  ·answer, that's -- that's the question.                        21·
                                                                   ·speaking objections, we should get the judge on the
22·     A.     To my knowledge, I don't think anything's         22·
                                                                   ·phone.
23·changed.    I think we basically do the intake with the       23·
                                                                   · · · · · ·MS. KITSON:··I don't know that we can
24·meeting and determine next steps.                             24·
                                                                   ·agree, because we -- not just with respect to the
25·
  · · ··Q.· ·Okay.··Have you conducted any of these              25·
                                                                   ·30(b)(6) deposition -- we disagreed on the scope of

                                                            38                                                             40
·1·
  ·meetings, these interactive process meetings, since           ·1·
                                                                   ·time that would be permissible in this case, not just
·2·
  ·the end of 2015?                                              ·2·
                                                                   ·with respect to the 30(b)(6) deposition.
·3·     A.     Yes, some.   Not all.                             ·3·
                                                                   · · · · · ·And we argued about that, and we argued
·4·
  · · ··Q.· ·Can you -- can you recall how many?                 ·4·
                                                                   ·about the scope of comparators, and we agreed and the
·5·     A.     Not offhand, no.                                  ·5·
                                                                   ·Court ordered that the relevant time period with
·6·
  · · ··Q.· ·Is it less than five?                               ·6·
                                                                   ·respect to comparators generally -- and that was one
·7·     A.     I would say more than five.                       ·7·
                                                                   ·of the 30(b)(6) topics -- that we would not go
·8·
  · · ··Q.· ·Can you recall, at any of these -- during           ·8·
                                                                   ·outside of that time frame.
·9·
  ·any of these interactive processes, whether or not            ·9·
                                                                   · · · · · ·MR. CRONE:··We --
10·
  ·you agreed to allow an employee to modify their               10·
                                                                   · · · · · ·MS. KITSON:··Let -- let me take a break,
11·
  ·schedule?                                                     11·
                                                                   ·John, and take a look back at the Court's order and
12·     A.     I would have to look at my records.   I           12·
                                                                   ·take a look back at our correspondence.··Let me take
13·can't recall.                                                 13·
                                                                   ·ten minutes and look back --
14·
  · · ··Q.· ·Can you --                                          14·
                                                                   · · · · · ·MR. CRONE:··Okay.
15·
  · · · · · ·MS. KITSON:··I'm going to object on, again,         15·
                                                                   · · · · · ·MS. KITSON:··-- and we can maybe confer
16·
  ·it's outside the scope of what the judge ordered in           16·
                                                                   ·offline.
17·
  ·terms of the relevant time period.                            17·
                                                                   · · · · · ·MR. CRONE:··Okay.··But -- but before we do,
18·
  · · ··Q.· ·(BY MR. CRONE)··Can you recall, at any of           18·
                                                                   ·I just want to note that the Court's order applied to
19·
  ·these interactive processes, whether or not you've            19·
                                                                   ·the 30(b)(6) deposition.··That's it.
20·
  ·allowed an employee to -- to be reassigned                    20·
                                                                   · · · · · ·And -- and the authority that the Court
21·
  ·temporarily to a different position?                          21·
                                                                   ·relied on, that authority clearly laid out that
22·
  · · · · · ·MS. KITSON:··Objection.··We're so far --            22·
                                                                   ·events even four or five years after an employee's
23·
  ·what time period are you talking about?                       23·
                                                                   ·termination are relevant to that employee's claims
24·
  · · · · · ·MR. CRONE:··We're -- we're -- we're in the          24·
                                                                   ·when they have to prove intentional discrimination,
25·
  ·period from the end of 2015 onward.                           25·
                                                                   ·which Ms. Brigham needs -- needs to do here.··So --


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                                                          41                                                             43
·1·
  ·so --                                                       ·1·
                                                                 ·last one.
·2·
  · · · · · ·MS. KITSON:··Right.                               ·2·
                                                                 · · · · · ·MS. KITSON:··Okay.··Well, can you restate
·3·
  · · · · · ·MR. CRONE:··-- with that said, let's --           ·3·
                                                                 ·the question, then, I guess, John?··Just restate the
·4·
  ·and -- and with this question still pending, you            ·4·
                                                                 ·question.
·5·
  ·know, let's -- let's take the break.                        ·5·
                                                                 · · · · · ·MR. CRONE:··Yeah, I can --
·6·
  · · · · · ·MS. KITSON:··Okay.                                ·6·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Well, first let me ask,
·7·
  · · · · · ·THE VIDEOGRAPHER:··The time now is                ·7·
                                                                 ·Mr. Arellano, did -- did you have trouble
·8·
  ·9:40 a.m.··We're off the record.                            ·8·
                                                                 ·understanding the question that the court reporter
·9·
  · · · · · ·(Recess from 9:40 a.m. to 9:52 a.m.)              ·9·
                                                                 ·read back?
10·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 9:52.          10·     A.      Yes.
11·
  ·We're back on the record.                                   11·
                                                                 · · ··Q.· ·Okay.··Well, then let's -- let's back up a
12·
  · · · · · ·MR. CRONE:··So can the court reporter             12·
                                                                 ·tad, not to waste time, but just to bring context
13·
  ·please read back the last pending question.                 13·
                                                                 ·back into the room.
14·
  · · · · · ·THE REPORTER:··Sure.··Sorry; I have to go         14·
                                                                 · · · · · ·And so I had asked you if -- if you had
15·
  ·back a minute.                                              15·
                                                                 ·conducted any interactive process meetings from the
16·
  · · · · · ·MR. CRONE:··I -- I know.··That's fine.            16·
                                                                 ·end of 2015 onward to the present.··Did you recall
17·
  · · · · · ·MS. KITSON:··While the court reporter does        17·
                                                                 ·that?
18·
  ·that, too, I just want to put on the record what we         18·     A.      Yes.

19·
  ·just discussed, which is that Frontier is allowing          19·
                                                                 · · ··Q.· ·Okay.··So let's start there.··Oh, and I'd

20·
  ·these questions to proceed for this specific                20·
                                                                 ·asked you how many do you recall conducting.··You had

21·
  ·deposition, but we are reserving our rights, and it         21·
                                                                 ·stated more than five.

22·
  ·is -- and our objections -- and it is our position          22·     A.      Correct.

23·
  ·that this is outside the scope of what should be            23·
                                                                 · · ··Q.· ·And do you recall that answer?

24·
  ·permissible in questioning.                                 24·     A.      I do.

25·
  · · · · · ·That said, for this deposition to move            25·
                                                                 · · ··Q.· ·Okay.··Was it more than ten?

                                                          42                                                             44
·1·
  ·forward and in the interest of efficiency, we'll            ·1·     A.     Between 2015 and present?
·2·
  ·allow the questions as to flight attendants                 ·2·
                                                                 · · ··Q.· ·Yes.
·3·
  ·post-2015.                                                  ·3·     A.     Possibly, yeah.   I would have to look in my
·4·
  · · · · · ·MR. CRONE:··And -- and -- and while               ·4·records.
·5·
  ·Plaintiff -- just for the record, and while                 ·5·
                                                                 · · ··Q.· ·And I understand you'd have to look in your
·6·
  ·Plaintiff disagrees with the substance of Frontier's        ·6·
                                                                 ·records to be exact.··Is it -- is it possible that
·7·
  ·objections, Plaintiff in no way thinks Frontier has         ·7·
                                                                 ·there was more than 15?
·8·
  ·waived its objection.                                       ·8·     A.     Possibly.
·9·
  · · · · · ·MS. KITSON:··So with that, could we read          ·9·
                                                                 · · ··Q.· ·What about more than 20?··Is that possible?
10·
  ·the question back?                                          10·     A.     No.
11·
  · · · · · ·MR. CRONE:··Thank you.                            11·
                                                                 · · ··Q.· ·Okay.··All right.··And in any of these
12·
  · · · · · ·THE REPORTER:··Yes.··Now I've got to go           12·
                                                                 ·interactive process meetings that you -- that you
13·
  ·back again.                                                 13·
                                                                 ·just identified from the end of 2015 onward to the
14·
  · · · · · ·MS. KITSON:··Sorry.                               14·
                                                                 ·present, in any of those, did you grant an employee a
15·
  · · · · · ·THE REPORTER:··That's okay.                       15·
                                                                 ·temporary reassignment to a different position?
16·
  · · · · · ·(The last question was read by the reporter       16·
                                                                 · · · · · ·MS. KITSON:··I'm going to limit that
17·
  ·as follows:··"Can you recall, at any of these               17·
                                                                 ·question to flight attendants since that's what we're
18·
  ·interactive processes, whether or not you've allowed        18·
                                                                 ·talking about.
19·
  ·an employee to -- to be reassigned temporarily to a         19·
                                                                 · · ··Q.· ·(BY MR. CRONE)··I'm going to -- I'm --
20·
  ·different position?")                                       20·
                                                                 ·I'm -- I'm going to ask -- so -- so -- so the
21·
  · · · · · ·MS. KITSON:··I don't think that was the           21·
                                                                 ·question stands.··It's any employee and any
22·
  ·last question, was it?                                      22·
                                                                 ·interactive process meeting that you've just
23·
  · · · · · ·MR. CRONE:··I -- I think it -- my -- my           23·
                                                                 ·identified, any employee.··Did you grant them a
24·
  ·recollection is that it was.                                24·
                                                                 ·temporary reassignment to a different position?
25·
  · · · · · ·THE REPORTER:··That's what I show as the          25·
                                                                 · · · · · ·MS. KITSON:··We'll have to call the judge


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·1·
  ·on that.··See, and that's the divisible unit, that's        ·1·
                                                                 · · · · · ·MR. CRONE:··If we -- if we -- if we go off
·2·
  ·the universe of comparators, is flight attendants.··I       ·2·
                                                                 ·the record, can you review the authority that
·3·
  ·mean, are you talking about baggage handlers?··You're       ·3·
                                                                 ·Plaintiff submitted to the judge in our last dispute
·4·
  ·talking about the entire company for a five-year            ·4·
                                                                 ·where courts have held -- many courts have held that
·5·
  ·period?                                                     ·5·
                                                                 ·even four or five years after an employee's date of
·6·
  · · · · · ·MR. CRONE:··So -- so, Danielle, I -- I've         ·6·
                                                                 ·termination, what the company does is relevant
·7·
  ·got to -- I -- so what's the objection?                     ·7·
                                                                 ·because -- and discoverable, properly discoverable,
·8·
  · · · · · ·MS. KITSON:··The objection is that it's           ·8·
                                                                 ·because the -- it's -- it's absolutely relevant to
·9·
  ·unduly burdensome and harassing and outside the scope       ·9·
                                                                 ·the employer's intent that the -- that the employee
10·
  ·of what the Court ordered, and it's outside the scope       10·
                                                                 ·has to prove.
11·
  ·of the comparative universe that's at issue.                11·
                                                                 · · · · · ·And so we're not treading new ground here.
12·
  · · · · · ·MR. CRONE:··So -- so, one, the Court hasn't       12·
                                                                 ·I mean, this is -- this is -- this is well-worn
13·
  ·ordered anything with regard to this deposition.            13·
                                                                 ·territory, and if we have to go to the judge about
14·
  ·Second, the scope of the comparators is -- has not          14·
                                                                 ·it, then let's do it.
15·
  ·been ordered either, so the Court hasn't said only          15·
                                                                 · · · · · ·But -- but the question that was pending,
16·
  ·these people are comparators.                               16·
                                                                 ·you were fine with it if it was -- if it was confined
17·
  · · · · · ·This is discovery.··We're entitled to             17·
                                                                 ·to flight attendants but not if we add customer
18·
  ·discover.··In fact, in the spreadsheet that was             18·
                                                                 ·service agents or counter service agents.··I -- I
19·
  ·produced for yesterday's deposition, Frontier didn't        19·
                                                                 ·don't understand how that's the dividing line between
20·
  ·limit it to flight attendants.··There were various          20·
                                                                 ·what's discoverable and what's not.··And -- and I --
21·
  ·other employees on that spreadsheet.                        21·
                                                                 · · · · · ·MS. KITSON:··It's -- under -- under the
22·
  · · · · · ·And so if -- I didn't hear anything in --         22·
                                                                 ·ADA, the relevant universe is the similarly situated
23·
  ·in your objection that would allow you to instruct          23·
                                                                 ·comparable employee universe, and we've talked about
24·
  ·the witness not to answer the question, and so if we        24·
                                                                 ·that in the context of the organizational structure
25·
  ·have to -- if you want to stop the depo, we can stop        25·
                                                                 ·of the company through the flight attendant reporting

                                                          46                                                             48
·1·
  ·it, and we can go to the judge, but, again, this            ·1·
                                                                 ·structure and with respect to flight attendants
·2·
  ·is -- this is clearly relevant information.··It's           ·2·
                                                                 ·specifically.
·3·
  ·discoverable.                                               ·3·
                                                                 · · · · · ·So to go rooting around in what's happened
·4·
  · · · · · ·MS. KITSON:··Let me --                            ·4·
                                                                 ·post-2015 with respect to baggage handlers is too far
·5·
  · · · · · ·MR. CRONE:··It's not --                           ·5·
                                                                 ·afield, and, you know, I believe this is probably
·6·
  · · · · · ·MS. KITSON:··Let's just go off the record         ·6·
                                                                 ·going to be a bigger discovery fight than this
·7·
  ·really quickly.··Let's go on mute.··I have one              ·7·
                                                                 ·deposition.
·8·
  ·question for the witness.··Let's go on mute for a           ·8·
                                                                 · · · · · ·And I just don't know that it's even an
·9·
  ·second.                                                     ·9·
                                                                 ·issue in this deposition, and I just need -- let me
10·
  · · · · · ·MR. CRONE:··Hold on.··There's -- there's          10·
                                                                 ·go off the record and look again at the authority
11·
  ·a -- there's a question pending, and so I don't -- I        11·
                                                                 ·that you've cited.
12·
  ·don't want to leave a question pending before we go         12·
                                                                 · · · · · ·MR. CRONE:··And let's -- and -- and if
13·
  ·off the record.                                             13·
                                                                 ·we -- and -- and this time, let's -- if -- if we --
14·
  · · · · · ·MS. KITSON:··Right, but I can't determine         14·
                                                                 ·if we can't agree, let's just get the judge on the
15·
  ·whether we're going to call the judge or not unless I       15·
                                                                 ·phone, because now we've -- you know, we're 20
16·
  ·confer with the witness quickly.                            16·
                                                                 ·minutes into this dispute, and I think the depo would
17·
  · · · · · ·MR. CRONE:··Danielle --                           17·
                                                                 ·be over by now.··So . . .
18·
  · · · · · ·MS. KITSON:··Let's call the judge.                18·
                                                                 · · · · · ·MS. KITSON:··I 100 percent agree about the
19·
  · · · · · ·MR. CRONE:··Let's -- why don't you --             19·
                                                                 ·judge.··So let me just take a quick look at that, and
20·
  · · · · · ·MS. KITSON:··You're -- you're probing             20·
                                                                 ·we'll come back on.
21·
  ·beyond the scope of what is relevant to this case in        21·
                                                                 · · · · · ·MR. CRONE:··Okay.··Let's go off the record.
22·
  ·a post-2015 world which has nothing to do with              22·
                                                                 · · · · · ·THE VIDEOGRAPHER:··The time now is 10 a.m.
23·
  ·anything, and it's harassing to the company and             23·
                                                                 ·We're off the record.
24·
  ·prying into the business affairs of the company             24·
                                                                 · · · · · ·(Recess from 10:00 a.m. to 10:15 a.m.)
25·
  ·unnecessarily.                                              25·
                                                                 · · · · · ·THE VIDEOGRAPHER:··The time now is 10:15.


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                                                          49                                                               51
·1·
  ·We're back on the record.                                   ·1·       A.   Possibly, yes.     I'd have to look at my
·2·
  · · · · · ·MR. CRONE:··So, Danielle, do you want to          ·2·notes.
·3·
  ·put your position on the record, and then we'll do          ·3·
                                                                 · · ··Q.· ·Can you recall how many?
·4·
  ·ours, and then we'll read back the last question?           ·4·       A.   Since 2015 to present?
·5·
  · · · · · ·MS. KITSON:··Sure.··On the break, I               ·5·
                                                                 · · ··Q.· ·Yes.
·6·
  ·attempted to do some legal research and to look back        ·6·       A.   I can't recall.     It would have to be a
·7·
  ·at the Court's orders and, unfortunately, was not           ·7·handful.    Not many.
·8·
  ·able to do that from a technical standpoint.                ·8·
                                                                 · · ··Q.· ·So is it possible it was more than five or
·9·
  · · · · · ·So we are going to allow Mr. Arellano, for        ·9·
                                                                 ·less than five?
10·
  ·the sake of efficiency, to answer these questions,          10·       A.   Possibly more than five.
11·
  ·but Frontier is lodging the objection, preserving its       11·
                                                                 · · ··Q.· ·Is it possible it's more than ten?
12·
  ·rights, and would like to confer with Mr. Crone after       12·       A.   No, I don't think more than ten.
13·
  ·this deposition for purposes of future discovery.           13·
                                                                 · · ··Q.· ·And of those terminations that you were
14·
  ·But Mr. Arellano, for today, can answer the                 14·
                                                                 ·involved in, can you recall if any of those
15·
  ·questions.                                                  15·
                                                                 ·terminated employees suffered from alcoholism?
16·
  · · · · · ·MR. CRONE:··And Plaintiff is of the opinion       16·       A.   I don't recall.
17·
  ·that that's a fine solution.··All of Frontier's             17·
                                                                 · · ··Q.· ·What about any form of substance abuse or
18·
  ·objections, we agree, are reserved.··We will                18·
                                                                 ·addiction?
19·
  ·absolutely confer on them in the future.                    19·       A.   Again, I can't recall.
20·
  · · · · · ·And now if we could read back the last            20·
                                                                 · · ··Q.· ·Mr. Arellano, is -- is there anybody
21·
  ·question, we'll -- we'll get going again.                   21·
                                                                 ·sitting to your right?
22·
  · · · · · ·THE REPORTER:··Sure.··Sorry.                      22·       A.   No.
23·
  · · · · · ·The last question:··"I'm going to -- I'm          23·
                                                                 · · ··Q.· ·What about to your left?
24·
  ·going to ask -- so -- so the question stands.··It's         24·       A.   Danielle.
25·
  ·any employee and any interactive process meeting that       25·
                                                                 · · ··Q.· ·Okay.··Any -- anybody else?

                                                          50                                                               52
·1·
  ·you've just identified, any employee.··Did you grant        ·1·
                                                                 · · · · · ·MS. KITSON:··(Inaudible.)
·2·
  ·them a temporary reassignment to a different                ·2·
                                                                 · · · · · ·THE REPORTER:··I'm sorry?··I didn't hear
·3·
  ·position?")                                                 ·3·
                                                                 ·you.
·4·
  · · ··Q.· ·(BY MR. CRONE)··Do you understand that            ·4·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Is -- is there anybody else
·5·
  ·question, Mr. Arellano?                                     ·5·
                                                                 ·sitting to your left?
·6·     A.      I do.                                          ·6·       A.   No.     Just -- well, Carolyn --
·7·
  · · ··Q.· ·Okay.                                             ·7·
                                                                 · · · · · ·MS. KITSON:··Carolyn Theis is down at the
·8·     A.      I -- I don't recall.                           ·8·
                                                                 ·very end of the conference table.
·9·
  · · ··Q.· ·Okay.··And what about any employee in which       ·9·
                                                                 · · · · · ·MR. CRONE:··Okay.
10·
  ·you've conducted an interactive process meeting from        10·
                                                                 · · ··Q.· ·(BY MR. CRONE)··All right.··I'm going to
11·
  ·the end of 2015 onward to the present?··Did you grant       11·
                                                                 ·hand you -- just like we did yesterday, I'm going to
12·
  ·them a modified schedule?                                   12·
                                                                 ·e-mail it to Danielle and then hand you what's been
13·     A.      Can you repeat that again?                     13·
                                                                 ·marked Exhibit 1.
14·
  · · ··Q.· ·Yeah.··So in any interactive process              14·
                                                                 · · · · · ·Same drill.··Once you've pulled that up and
15·
  ·meetings from 2015 to the present, for any employee         15·
                                                                 ·you've reviewed it, let me know.
16·
  ·that you've been involved in, have you granted any          16·       A.   Okay.     I have it up, and I'm reading it
17·
  ·of those employees a modified schedule as an                17·now.
18·
  ·accommodation?                                              18·
                                                                 · · ··Q.· ·Thank you.
19·     A.      I can't recall at this moment.                 19·       A.   Okay.
20·
  · · ··Q.· ·Do you recall a Frontier employee named           20·
                                                                 · · ··Q.· ·Do you know what this document is?
21·
  ·David St. Hilaire?                                          21·       A.   The document is a Performance Counseling
22·     A.      Not offhand, no.                               22·Record.
23·
  · · ··Q.· ·Since the end of 2015 onward to the               23·
                                                                 · · ··Q.· ·Have you ever -- have you seen these
24·
  ·present, have you been involved in the termination of       24·
                                                                 ·documents before?
25·
  ·any employee at Frontier?                                   25·       A.   Yes.


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                                                           53                                                             55
·1·
  · · ··Q.· ·Is this a form that Frontier used back in          ·1·       A.   In terms of failure to complete or read the
·2·
  ·September of 2014 when the document's dated?                 ·2·CBT?
·3·     A.      I believe so.                                   ·3·
                                                                  · · ··Q.· ·(BY MR. CRONE)··Correct.
·4·
  · · ··Q.· ·Okay.··Have you ever filled out one of             ·4·       A.   Yes.
·5·
  ·these forms?                                                 ·5·
                                                                  · · ··Q.· ·Okay.··And then right in the middle
·6·     A.      Yes.                                            ·6·
                                                                  ·it says, Effective 9/1/14, you begin a
·7·
  · · ··Q.· ·Who -- who would typically fill out one of         ·7·
                                                                  ·warning/suspension of 365 calendar days, ending
·8·
  ·these forms?··By that -- by that I mean what would           ·8·
                                                                  ·9/1/15.
·9·
  ·their position be?                                           ·9·
                                                                  · · · · · ·Do you see where I just read that?
10·     A.      Could be a supervisor and above.                10·       A.   Yes.
11·
  · · ··Q.· ·Okay.··And what's the issue -- and so -- so        11·
                                                                  · · ··Q.· ·Is -- is that -- is that -- is it proper
12·
  ·this -- this is issued to Rebecca Brigham; is that           12·
                                                                  ·to put someone on a 365-day -- calendar day
13·
  ·correct?                                                     13·
                                                                  ·warning/suspension for this type of issue?
14·     A.      It looks -- yes, her name is on there.          14·
                                                                  · · · · · ·MS. KITSON:··Object to the form.
15·
  · · ··Q.· ·Okay.··And it was -- it's dated                    15·       A.   That, I -- I wouldn't know.
16·
  ·September 1, 2014; is that correct?                          16·
                                                                  · · ··Q.· ·(BY MR. CRONE)··Okay.··Okay.··We can set
17·     A.      Correct.                                        17·
                                                                  ·that aside.··I'm going to hand you, in the same
18·
  · · ··Q.· ·And is there any way to tell who -- who --         18·
                                                                  ·manner, what has been marked Exhibit 2.··And same --
19·
  ·who filled out this form by looking at it?                   19·
                                                                  ·same thing.··Once you've opened it and reviewed it,
20·     A.      No, not off -- by looking at it, no.            20·
                                                                  ·let me know.
21·
  · · ··Q.· ·Okay.                                              21·       A.   Okay.
22·     A.      You can't see who filled it out.                22·
                                                                  · · ··Q.· ·Okay.··You've seen this document before,
23·
  · · ··Q.· ·And I see where -- towards the bottom              23·
                                                                  ·haven't you?
24·
  ·where it says Issued By and there's place for a              24·       A.   Yes.
25·
  ·supervisor's signature, there's no signature there.          25·
                                                                  · · ··Q.· ·And you -- you wrote this document,

                                                           54                                                             56
·1·
  ·Is that -- is that unusual?                                  ·1·
                                                                  ·correct?
·2·     A.    No, there should be a signature on there.         ·2·       A.   Correct.
·3·
  · · ··Q.· ·And down at the very bottom where it says          ·3·
                                                                  · · ··Q.· ·Okay.··And it's dated January 29, 2010?
·4·
  ·Employee's Signature, there's not one there either.          ·4·       A.   Uh-huh.
·5·
  ·Is that unusual?                                             ·5·
                                                                  · · ··Q.· ·Do you think that's the correct date?
·6·     A.    No.      We should have the employee's            ·6·       A.   I believe so, yes.
·7·signature, but that is not unusual.                          ·7·
                                                                  · · ··Q.· ·Okay.··And why did you write this document
·8·
  · · ··Q.· ·Okay.··So sometimes employees don't sign           ·8·
                                                                  ·to Ms. Brigham?
·9·
  ·but the supervisor should sign?                              ·9·       A.   To give her an update in terms of where she
10·     A.    Correct.                                          10·stood with her occurrences at that time period.
11·
  · · ··Q.· ·Okay.··And then what is the -- can you tell        11·
                                                                  · · ··Q.· ·Okay.··So this is not disciplinary in
12·
  ·by looking at this what the -- what the issue is             12·
                                                                  ·nature?
13·
  ·here, why this was issued to Ms. Brigham?                    13·       A.   No.
14·     A.    Failure to read a "Must Read," seems like.        14·
                                                                  · · ··Q.· ·Is this part of -- did you write this
15·
  · · ··Q.· ·And then can you tell by looking at this           15·
                                                                  ·letter as part of the dependability policy --
16·
  ·what -- how Ms. Brigham was expected to resolve this         16·
                                                                  ·policy -- excuse me -- as it existed prior to 2012?
17·
  ·issue?                                                       17·       A.   I believe so, yeah.
18·
  · · · · · ·MS. KITSON:··Object to the form.                   18·
                                                                  · · ··Q.· ·And towards the bottom, you list out sick
19·     A.    It looks like she was being asked to              19·
                                                                  ·occurrences.··Do you see where there's four sick
20·complete the CBT in accordance to FAM 5 -- 05.25,            20·
                                                                  ·occurrences listed?
21·page 4.                                                      21·       A.   Yes, sir.
22·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··Would that be the           22·
                                                                  · · ··Q.· ·Was -- was there anything abnormal about a
23·
  ·proper directive to issue Ms. Brigham for this               23·
                                                                  ·flight attendant using sick days during this time?
24·
  ·situation?                                                   24·       A.   No.
25·
  · · · · · ·MS. KITSON:··Object to the form.                   25·
                                                                  · · · · · ·MS. KITSON:··Object to the form.


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·1·     A.     No.                                             ·1·
                                                                 ·October 4 -- or around October 2012, would this have
·2·
  · · ··Q.· ·(BY MR. CRONE)··No?··Were these -- so             ·2·
                                                                 ·been sufficient evidence to allow her to take the day
·3·
  ·this -- this letter was issued prior to 2012.··Was --       ·3·
                                                                 ·off?
·4·
  ·was there -- was -- was it considered an infraction         ·4·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
·5·
  ·at that time for Ms. Brigham -- an infraction under         ·5·       A.    I guess I'm stuck on the "allowed to take a
·6·
  ·the dependability policy for Ms. Brigham to have used       ·6·day off."     Yeah, she definitely has the option to
·7·
  ·these sick days?                                            ·7·call in and have herself removed from her trip, for
·8·     A.     No.                                             ·8·certain, yeah.
·9·
  · · ··Q.· ·Okay.··We can set that aside, and I'll hand       ·9·
                                                                 · · ··Q.· ·(BY MR. CRONE)··And -- and if she did and
10·
  ·you what has been marked Exhibit 3.··And after you've       10·
                                                                 ·she said, "I'm taking a sick day" and submitted this
11·
  ·reviewed that document, let me know.                        11·
                                                                 ·document, you would -- you would have no issue
12·     A.     Okay.                                           12·
                                                                 ·saying, Well, that's a sick day, right?
13·
  · · ··Q.· ·Have you seen this document before?               13·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
14·     A.     Yes.                                            14·       A.    Based on that, yeah, I would think she
15·
  · · ··Q.· ·Okay.··Do you know who wrote it?                  15·would -- I mean, that's what the sick policy would be
16·     A.     To my understanding, Rebecca did.               16·there for.
17·
  · · ··Q.· ·Do you -- when did you first see this             17·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··And she wouldn't be
18·
  ·document?··Can you recall?                                  18·
                                                                 ·disciplined for having taken this day off, would she?
19·     A.     No.     Not the date specific, no.              19·       A.    It would depend on where she was within
20·
  · · ··Q.· ·Do you know if it was before or after             20·total number of infractions or sick instances at that
21·
  ·Ms. Brigham was terminated?                                 21·time.
22·     A.     Might have been before.                         22·
                                                                 · · ··Q.· ·So this could have been coded still as an
23·
  · · ··Q.· ·Okay.··We can set that aside, and I'll hand       23·
                                                                 ·infraction under the dependability policy?
24·
  ·you what has been marked Exhibit 4.··And after you've       24·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
25·
  ·reviewed that document, let me know.                        25·       A.    It would have been coded as a sick call and

                                                          58                                                                60
·1·     A.     Okay.                                           ·1·subject to the dependability policy.
·2·
  · · ··Q.· ·Okay.··And have you ever seen any of              ·2·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Got it.
·3·
  ·these -- these documents at -- at Exhibit 4?                ·3·
                                                                 · · · · · ·Let's go to page 2 of this document.··Would
·4·     A.     They look familiar, but I'm -- yeah.            ·4·
                                                                 ·you agree that this is a note from Dr. Elizabeth
·5·
  · · ··Q.· ·Okay.··So let's -- let's start at page 1.         ·5·
                                                                 ·McCrann To Whom It May Concern dated May 30, 2013?
·6·
  ·Would you agree with me that that's a letter from           ·6·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
·7·
  ·Dr. Stephen Volin dated October 4, 2012?                    ·7·       A.    Yes.
·8·     A.     Yes.                                            ·8·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··So I have the same
·9·
  · · ··Q.· ·Okay.··And here that letters says, To Whom        ·9·
                                                                 ·question with regard to this document.··Is -- would
10·
  ·It May Concern:··This letter is to certify that             10·
                                                                 ·this document constitute sufficient evidence for
11·
  ·Rebecca Kruger is being seen in our office for              11·
                                                                 ·Ms. Brigham to have taken time off from Frontier?
12·
  ·medical care.                                               12·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
13·
  · · · · · ·First of all, are you aware that                  13·       A.    And can you define when you say "time off"?
14·
  ·Ms. Brigham, the plaintiff in this lawsuit, her --          14·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Let's say she -- she
15·
  ·her last name at the time was Kruger, not Brigham?          15·
                                                                 ·submitted this in order to take sick time.
16·     A.     Yes, it says there on the document.             16·       A.    Yes.
17·
  · · ··Q.· ·And so here, this note from -- from               17·
                                                                 · · ··Q.· ·Let's say she submitted this in order -- in
18·
  ·Ms. Brigham's doctor, would this constitute                 18·
                                                                 ·order to take FMLA time.
19·
  ·sufficient evidence for an employee to take a -- a --       19·       A.    When -- well, I guess, take FMLA -- because
20·
  ·time off?                                                   20·I'm looking -- just really quickly, I'm looking at
21·
  · · · · · ·MS. KITSON:··Object to the form.                  21·the date of May 30.     So by that time, she would have
22·     A.     Can you repeat that again?                      22·already had -- so it would have been retro to
23·
  · · ··Q.· ·(BY MR. CRONE)··Yeah.··So when Ms. --             23·April 1, '13.
24·
  ·in -- in reviewing this note and thinking about             24·            At that point, she would have needed to
25·
  ·when Ms. Brigham submitted this to Frontier on              25·have already -- it's a little confusing, though.


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·1·". . . will be completely disabled from April 14                ·1·     A.   There is what they call emergency drop.
·2·until June 14."                                                 ·2·
                                                                     · · ··Q.· ·Okay.··And how does that work?
·3·            So she would have already taken sick time           ·3·     A.   I'm trying to recall.    A crew member or
·4·at the time that she would have presented that note,            ·4·flight attendant would have needed to call or make
·5·and it's looking like she needed additional time into           ·5·contact with one of their -- if not their supervisor
·6·June, and she had questioned if this would have been            ·6·or manager, explain the situation, and request and
·7·sufficient for her to take time off.      She would have        ·7·see if they could take emergency drop for that time
·8·already been calling out.      And so I guess I'm lost in       ·8·period.
·9·the question.     Does that make sense?                         ·9·
                                                                     · · ··Q.· ·Okay.
10·
  · · ··Q.· ·It does make sense.··So would it have been            10·     A.   So the manager would evaluate what was
11·
  ·sufficient to retroactively code her time as FMLA?              11·provided by the crew member or flight attendant and
12·
  · · · · · ·MS. KITSON:··Object to the form.                      12·then make that assessment themselves.
13·     A.     I would have to check and see if she had            13·
                                                                     · · ··Q.· ·And they probably evaluate a doctor's note
14·FMLA in that -- in that time period.                            14·
                                                                     ·just like this, right?
15·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··And would she have             15·     A.   If one was presented, yes, that would be
16·
  ·been disciplined for taking this time off?                      16·part of the decision-making process.
17·
  · · · · · ·MS. KITSON:··Object to the form.                      17·
                                                                     · · ··Q.· ·Okay.··And at that point in the
18·     A.     Again, I would have to look and see where           18·
                                                                     ·decision-making process, would this note have been
19·she would have been in terms of dependability, in               19·
                                                                     ·sufficient to excuse Ms. Brigham for -- under the
20·terms of how many occurrences she would have had on             20·
                                                                     ·dependability policy?··Would she still get an
21·her -- on her record.                                           21·
                                                                     ·infraction there?
22·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··Let's go to the                22·     A.   So say that again.    You're seeing if this
23·
  ·third page, and here -- this one's a little harder to           23·would excuse her sick time?
24·
  ·read.··It's a -- it's a -- it's written in -- in                24·
                                                                     · · ··Q.· ·Yeah.··Yeah.··Well, from being -- from
25·
  ·doctor scribble a bit more, but would you agree that            25·
                                                                     ·earning an infraction under the dependability policy.

                                                              62                                                               64
·1·
  ·this appears to be a note from Dr. Pamela Mattson               ·1·     A.   I guess I don't see the relevance of
·2·
  ·dated December 22, 2013?                                        ·2·emergency drop to this, and so that's where I'm
·3·
  · · · · · ·MS. KITSON:··Object to the form.                      ·3·getting a little lost.
·4·     A.     It looks like 2013, but it's kind of                ·4·
                                                                     · · ··Q.· ·Well -- well, then, let me back up.
·5·blurry.    Yeah, definitely a doctor's note.                    ·5·
                                                                     · · · · · ·So -- so in that situation and then this
·6·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··And same question.             ·6·
                                                                     ·note is provided --
·7·
  ·Would this be sufficient for Ms. Brigham to have                ·7·     A.   Okay.
·8·
  ·taken -- first -- we'll start with just sick time --            ·8·
                                                                     · · ··Q.· ·-- what would -- how would her time be
·9·
  ·between December 17, 2013, and December 22, 2013?               ·9·
                                                                     ·coded, that missed -- the missed time?
10·     A.     And can you repeat the question again?              10·     A.   Okay.     And so in -- in just that example,
11·
  · · ··Q.· ·Yeah.··Would this have been sufficient                11·what would the time be coded, not taking anything
12·
  ·evidence for Ms. Brigham to have taken sick time                12·else in consideration, she would have already had --
13·
  ·during that time period?                                        13·if she had a trip during the 17th and the 22nd, she
14·     A.     It would depend.    And, again, I would have        14·would have needed to remove herself from her trip;
15·to go back to -- the note is postdated after the                15·typically how we look at the flight attendant's
16·22nd.     So if she called off for a trip and she called        16·responsibility for their schedule.     So they have to
17·out sick, this would be her way to substantiate the             17·call in and remove.
18·time off.     But, again, she would have already called         18·          So she would have done that.     If she had a
19·out if she had trips scheduled during that time                 19·trip, it would have been coded as possibly sick at
20·period.                                                         20·that time, if that's what she requested.     And then
21·
  · · ··Q.· ·Are -- are there instances in which                   21·how it would have been handled, it would fall under
22·
  ·employees at Frontier call off due to an emergency?             22·the dependability policy.
23·
  ·In other words, they're -- they're not able to call             23·          And to your point, if she requested
24·
  ·ahead of time because the emergency, by definition,             24·emergency drop, then that would be something
25·
  ·hasn't happened yet?                                            25·different.


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                                                               65                                                              67
·1·
  · · ··Q.· ·Okay.··So then -- then there wouldn't be --            ·1·     A.    Definitely.
·2·
  ·she wouldn't receive an infraction under the                     ·2·
                                                                      · · ··Q.· ·Okay.··And if she did and presented this
·3·
  ·dependability policy at that point?                              ·3·
                                                                      ·note as evidence, would that be sufficient to recode
·4·        A.   Under which point, though?                          ·4·
                                                                      ·this as FMLA time?
·5·
  · · ··Q.· ·If she had requested the emergency drop.               ·5·
                                                                      · · · · · ·MS. KITSON:··Object to the form.
·6·        A.   If it was approved by the inflight manager.         ·6·     A.    If she already did -- had FMLA in place?
·7·Again, she would have to -- she or he would have had             ·7·
                                                                      · · ··Q.· ·(BY MR. CRONE)··Well, yeah.··Let's start
·8·to review the circumstances of the situation.                    ·8·
                                                                      ·there.··Let's say she already had it in place and
·9·
  · · ··Q.· ·Okay.                                                  ·9·
                                                                      ·this was submitted as evidence.
10·        A.   Yeah.                                               10·
                                                                      · · · · · ·Would -- would the -- would the time off be
11·
  · · ··Q.· ·And then what about if she submitted this              11·
                                                                      ·recoded to FMLA time?
12·
  ·in order to retroactively code this as FMLA time?                12·
                                                                      · · · · · ·MS. KITSON:··Object to the form.
13·
  ·Would this be sufficient evidence to accomplish that?            13·     A.    I guess the question would be when would
14·
  · · · · · ·MS. KITSON:··Object to the form.                       14·she have presented this note?   We would have to look
15·        A.   I would have to, again, go back to if she           15·at that time frame as well.   So there's other pieces
16·had FMLA in place.                                               16·that would be considered, I guess.   And it also
17·
  · · ··Q.· ·(BY MR. CRONE)··What do you mean by "FMLA              17·depends if it was intermittent FMLA versus continuous
18·
  ·in place"?                                                       18·FMLA.
19·        A.   You're saying if this would be sufficient           19·
                                                                      · · ··Q.· ·(BY MR. CRONE)··So let me -- let me back up
20·for her to put it as FMLA.       I would have to verify if       20·
                                                                      ·and -- and try to make this a bit easier to
21·she had intermittent FMLA in place.       So she would           21·
                                                                      ·understand.
22·have had options.       If she didn't have FMLA in place,        22·     A.    Okay.
23·she could have applied.       But, yeah, it depends.             23·
                                                                      · · ··Q.· ·I'm not sure -- I'm not sure where the
24·
  · · ··Q.· ·So I just want to make sure I understand               24·
                                                                      ·disconnect is, but I believe if it's on my --
25·
  ·that.                                                            25·
                                                                      · · · · · ·MS. KITSON:··It's a hypothetical question

                                                               66                                                              68
·1·
  · · · · · ·So you would look back to check to see if              ·1·
                                                                      ·outside of any specific situation.
·2·
  ·she had already gotten approved for FMLA?                        ·2·
                                                                      · · · · · ·MR. CRONE:··Okay.
·3·        A.   I would have to just do my due diligence            ·3·
                                                                      · · · · · ·MS. KITSON:··Anyway, ask your question.
·4·and double-check.                                                ·4·
                                                                      · · ··Q.· ·(BY MR. CRONE)··If it's on my side, I want
·5·
  · · ··Q.· ·Yeah, yeah, but -- but I'm just trying to              ·5·
                                                                      ·to clarify for you.··And so -- so let's -- let's look
·6·
  ·figure out the -- the steps you're actually taking.              ·6·
                                                                      ·at the note.··The note's dated December 22, 2013,
·7·
  · · · · · ·So you're saying -- when you say I'd have              ·7·
                                                                      ·correct?
·8·
  ·to go back and check to see if she had FMLA in place,            ·8·     A.    Correct.
·9·
  ·are you saying already certified, approved FMLA time             ·9·
                                                                      · · ··Q.· ·And it appears to be excusing an absence
10·
  ·available?··Or are you talking about something else?             10·
                                                                      ·between December 17 and December 22.··Do you agree?
11·        A.   No.     So, ultimately, you had asked me would      11·     A.    Agree.
12·this be enough for her -- for the trip to be recorded            12·
                                                                      · · ··Q.· ·Okay.··So Ms. Brigham -- let's say she
13·FMLA.                                                            13·
                                                                      ·submits this note on December 22, the day it's dated.
14·
  · · ··Q.· ·Correct.                                               14·     A.    Okay.
15·        A.   Anytime there's a recode, if they're                15·
                                                                      · · ··Q.· ·And she says, I'd like to recode that --
16·requesting FMLA, we have to see that the employee has            16·
                                                                      ·that time as FMLA time that I missed.
17·FMLA in place, in that example.                                  17·     A.    Uh-huh.
18·
  · · ··Q.· ·Yeah, and that's what I'm trying to really             18·
                                                                      · · ··Q.· ·Would -- and then you -- first of all,
19·
  ·just ask very specifically.··By "in place," do you               19·
                                                                      ·would this note be sufficient for you, at that time,
20·
  ·mean already approved?                                           20·
                                                                      ·to say, Okay, I'll do that or I won't do that?
21·        A.   Already approved, correct.                          21·     A.    Perfect.   So, now, does she have FMLA in
22·
  · · ··Q.· ·Okay.··And if that wasn't there, could she             22·place?
23·
  ·then apply for it?                                               23·
                                                                      · · ··Q.· ·First let's say that she does.
24·        A.   Yes.                                                24·     A.    If she does and she provides this note on
25·
  · · ··Q.· ·Okay.                                                  25·December 22, 2013, which is on the day that the --


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                                                          69                                                                 71
·1·looks like she was in the hospital, then yes.               ·1·     A.     2018, 2019.
·2·
  · · ··Q.· ·Okay.··And now let's say she didn't have          ·2·
                                                                 · · ··Q.· ·2018 or '19.··Any other -- have you ever --
·3·
  ·the FMLA in place.                                          ·3·
                                                                 ·ever been disciplined at any other time by Frontier
·4·     A.      Okay.   And so -- and the question is would    ·4·
                                                                 ·Airlines?
·5·this constitute FMLA?      I mean, that's a conversation    ·5·     A.     Yes.
·6·that we would have to have and say, Do you want to          ·6·
                                                                 · · ··Q.· ·When?
·7·apply for FMLA?                                             ·7·     A.     '16, '17.     2016, '17, in that -- possibly
·8·
  · · ··Q.· ·So in that scenario -- in that scenario,          ·8·around that time frame.
·9·
  ·your response would be, Do you want to apply?··And          ·9·
                                                                 · · ··Q.· ·Any other times?
10·
  ·then it would go down that road?                            10·     A.     Not -- not that I can recall.
11·     A.      Yeah, because if she's requesting FMLA and     11·
                                                                 · · ··Q.· ·Okay.··So thinking about the time in 2018
12·if it's not in place, then we would definitely send         12·
                                                                 ·or 2019, what was the discipline for?
13·her to the FMLA department to then submit her               13·     A.     Dependability.
14·application for FMLA.                                       14·
                                                                 · · ··Q.· ·Did you agree or disagree with the
15·
  · · ··Q.· ·Okay.··And then the final question in this        15·
                                                                 ·discipline?
16·
  ·is, if she had the FMLA in place already -- and you         16·     A.     Whether I agreed or not, it was
17·
  ·had just said this note would be sufficient to code         17·administered, so . . .
18·
  ·it as FMLA -- would those absences count against her        18·
                                                                 · · ··Q.· ·I understand that, but did you think it was

19·
  ·under the dependability policy?                             19·
                                                                 ·administered properly?

20·     A.      So in that example, if she had FMLA, if it     20·     A.     Sure.

21·was continuous, then she wouldn't be required to put        21·
                                                                 · · ··Q.· ·And why were you disciplined under the

22·the note.     But if it's intermittent FMLA and if it's     22·
                                                                 ·dependability?

23·already in place, the note, whether she submitted it        23·     A.     Attendance.

24·or not, she could simply have requested it to be            24·
                                                                 · · ··Q.· ·How many days did you miss?

25·recoded.                                                    25·     A.     That, I don't recall.

                                                          70                                                                 72
·1·            But either the way, the FMLA, continuous        ·1·
                                                                 · · ··Q.· ·Why did you miss the days?
·2·or FMLA, does not count against an individual's             ·2·     A.     They were just sick occurrences.
·3·dependability.                                              ·3·
                                                                 · · ··Q.· ·For what?
·4·
  · · ··Q.· ·Thank you.··I appreciate you helping me           ·4·     A.     Just for sick call, that I called in.
·5·
  ·work through those questions.                               ·5·
                                                                 · · ··Q.· ·Do you recall what you were sick with?
·6·
  · · · · · ·So just a few last questions, and then,           ·6·     A.     Not -- not right at this point, no.
·7·
  ·like yesterday, we'll take a break real quick.··I'll        ·7·
                                                                 · · ··Q.· ·Were you sick at all?
·8·
  ·circle back and see if I missed anything.                   ·8·     A.     Yes.
·9·
  · · · · · ·So have you yourself ever been disciplined        ·9·
                                                                 · · ··Q.· ·Okay.··Now, thinking back to the time in
10·
  ·by Frontier Airlines?                                       10·
                                                                 ·2016, 2017, what were you disciplined for then?
11·
  · · · · · ·MS. KITSON:··Object to the form.··I'm             11·     A.     Dependability.
12·
  ·instructing the witness not to answer that question.        12·
                                                                 · · ··Q.· ·So that's also related to sick time?
13·
  ·Actually --                                                 13·     A.     Correct.
14·
  · · · · · ·MR. CRONE:··Danielle, do you want to -- do        14·
                                                                 · · ··Q.· ·How many days were you out?
15·
  ·you want to propose the same solution?··We could            15·     A.     That, I don't recall.
16·
  ·agree to the same solution with regard to this              16·
                                                                 · · ··Q.· ·Do you recall why you were out?
17·
  ·objection?                                                  17·     A.     Just for being sick.
18·
  · · · · · ·MS. KITSON:··Sure.··Go ahead.                     18·
                                                                 · · ··Q.· ·Do you recall what you were sick with?
19·
  · · · · · ·MR. CRONE:··Okay.                                 19·     A.     No.
20·
  · · ··Q.· ·(BY MR. CRONE)··Have you ever been                20·
                                                                 · · ··Q.· ·Were -- were you, in fact, sick?
21·
  ·disciplined by Frontier Airlines?                           21·     A.     Yes.
22·     A.      Yes.                                           22·
                                                                 · · ··Q.· ·Okay.··Have you ever been subject to any
23·
  · · ··Q.· ·Do you recall when?                               23·
                                                                 ·sort of verbal counseling or -- or verbal warning or
24·     A.      Last year.                                     24·
                                                                 ·something like that during your time at Frontier?
25·
  · · ··Q.· ·So 2019?                                          25·     A.     Not that I can recall off the bat, no.


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                                                             73                                                                 75
·1·
  · · ··Q.· ·Any sort of written counseling or warning            ·1·
                                                                    · · · · · ·THE WITNESS:··No, the policy is different.
·2·
  ·that wouldn't rise to the level of discipline?                 ·2·     A.     I would fall under the corporate policy.
·3·     A.      Not that I can recall at this point, no.          ·3·
                                                                    · · ··Q.· ·(BY MR. CRONE)··Okay.··And -- and how
·4·
  · · ··Q.· ·When you were disciplined under the                  ·4·
                                                                    ·does that work?··Does it track occurrences, or is
·5·
  ·dependability policy, that was -- you weren't a                ·5·
                                                                    ·something else happening?
·6·
  ·flight attendant during any of those times, were you?          ·6·     A.     It tracks occurrences, I believe.
·7·     A.      No.                                               ·7·
                                                                    · · ··Q.· ·Okay.··And how many occurrences could
·8·
  · · ··Q.· ·Were you still subject to the same sort of           ·8·
                                                                    ·you -- could you have before something negative
·9·
  ·occurrences, sort of being -- receiving an infraction          ·9·
                                                                    ·happened?
10·
  ·based on the number of occurrences, or -- or was it            10·     A.     I don't recall.    I'd have to look at the
11·
  ·something different for you?                                   11·employee handbook.
12·     A.      It was just based on attendance.   I don't        12·
                                                                    · · ··Q.· ·Okay.··But is it -- was there some limit
13·know.    I guess I'm not understanding the question.           13·
                                                                    ·of -- on occurrences, and then the term steps would
14·
  · · ··Q.· ·Yeah.··So you had mentioned that if -- if            14·
                                                                    ·also start?
15·
  ·Ms. Brigham, for example, was -- violated the                  15·     A.     I would have to look at the employee
16·
  ·dependability policy, she'd receive an infraction.             16·handbook.    I can't recall.
17·
  ·And then if enough of these infractions added up,              17·
                                                                    · · ··Q.· ·Okay.··Are the -- so there's a corporate --
18·
  ·what would happen?                                             18·
                                                                    ·a corporate dependability policy that applied to you,
19·     A.      Is that --                                        19·
                                                                    ·and then there was a dependability policy that
20·
  · · ··Q.· ·Yeah, I'm asking you the question.                   20·
                                                                    ·applied to the flight attendants.
21·
  · · · · · ·So if -- if -- if, under the dependability           21·
                                                                    · · · · · ·Is there a dependability policy at any
22·
  ·policy, Ms. Brigham was -- was given an infraction,            22·
                                                                    ·time, that you're aware of, at Frontier that applies
23·
  ·how many could she get before something worse would            23·
                                                                    ·to the baggage handlers?
24·
  ·happen, and what would that be?                                24·     A.     I can't recall, no.
25·     A.      For Brigham or . . .                              25·
                                                                    · · ··Q.· ·What about the counter service agents?

                                                             74                                                                 76
·1·
  · · ··Q.· ·Yeah, yeah, for Brigham.                             ·1·     A.     I don't recall, no.
·2·        A.   How many -- I guess -- I guess I'm not            ·2·
                                                                    · · ··Q.· ·What about any of the other employees at
·3·understanding the question.                                    ·3·
                                                                    ·Frontier?
·4·
  · · ··Q.· ·So let's go back to the time period 2011 --          ·4·     A.     I -- I don't recall.    Yeah.   Not offhand.
·5·
  ·end of 2011 to 2015.                                           ·5·
                                                                    · · ··Q.· ·What -- what about the pilots?
·6·        A.   Okay.                                             ·6·     A.     Not that I remember, no.
·7·
  · · ··Q.· ·Let's say Ms. Brigham violates the                   ·7·
                                                                    · · ··Q.· ·If you wanted to find out whether there was
·8·
  ·dependability policy at that time.··She'd be given an          ·8·
                                                                    ·a dependability policy that applied to the baggage
·9·
  ·infraction, correct?                                           ·9·
                                                                    ·handlers, where would you look?
10·        A.   If she violated the policy or she --              10·     A.     I would look in first and see if it was
11·
  · · ··Q.· ·Yeah.                                                11·included in the contract, CBA.      And if it was not
12·        A.   She would -- it would just be an occurrence       12·there, then the employee handbook would apply.
13·towards the dependability policy.                              13·
                                                                    · · ··Q.· ·Do you know if baggage handlers are
14·
  · · ··Q.· ·Got it.··So there's an occurrence.··So how           14·
                                                                    ·represented by a different union than Ms. Brigham's?
15·
  ·many occurrences is she allowed?                               15·     A.     Baggage handlers, no.
16·        A.   Total of eight.                                   16·
                                                                    · · ··Q.· ·You don't know, or they -- or they are
17·
  · · ··Q.· ·And then after eight, what happens?                  17·
                                                                    ·represented by a different union?
18·        A.   Then the term processes or the steps kick         18·     A.     They're not represented by a union, baggage
19·in, the investigatory meetings, per the contract.              19·handlers.
20·
  · · ··Q.· ·Okay.··So what I'm asking is, with regard            20·
                                                                    · · ··Q.· ·They -- they don't have a union?
21·
  ·to you and these depend -- the dependability issues            21·     A.     No.
22·
  ·in 2018, '19, and 2016, '17, did it operate the same           22·
                                                                    · · ··Q.· ·So with them, you would look, then, just to
23·
  ·way for you, or is it -- or -- or did it operate               23·
                                                                    ·the employee handbook?
24·
  ·differently?                                                   24·     A.     Yes.
25·
  · · · · · ·MS. KITSON:··Same policy?                            25·
                                                                    · · ··Q.· ·Okay.··What about the counter service


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                                                              77                                                              79
·1·
  ·agents?                                                         ·1·
                                                                     ·We're off the record.
·2·       A.    If there -- they would be held to the              ·2·
                                                                     · · · · · ·(Recess from 10:54 a.m. until 11:01 a.m.)
·3·employee handbook.                                              ·3·
                                                                     · · · · · ·THE VIDEOGRAPHER:··The time now is 11:01.
·4·
  · · ··Q.· ·Okay.··Did they have -- are -- are -- are             ·4·
                                                                     ·We're back on the record.
·5·
  ·the counter service agents issued a different                   ·5·
                                                                     · · · · · ·MR. CRONE:··Mr. Arellano, just a couple
·6·
  ·handbook than would have been issued to Ms. Brigham?            ·6·
                                                                     ·quick follow-up questions.
·7·       A.    Currently?   Are -- are you looking at now,        ·7·
                                                                     · · ··Q.· ·(BY MR. CRONE)··After you were disciplined
·8·or during that time period?                                     ·8·
                                                                     ·in 2018, 2019 for the dependability policy issues,
·9·
  · · ··Q.· ·Now.                                                  ·9·
                                                                     ·did you suffer any further discipline as a result of
10·       A.    We outsource that function.                        10·
                                                                     ·that incident?
11·
  · · ··Q.· ·What about --                                         11·       A.   No.
12·       A.    We --                                              12·
                                                                     · · ··Q.· ·Okay.··And same question for the one in
13·
  · · ··Q.· ·I'm sorry.··I --                                      13·
                                                                     ·2016, 2017.··Any -- any further discipline after
14·       A.    Go ahead.                                          14·
                                                                     ·that?
15·
  · · ··Q.· ·What about during this time that                      15·       A.   No.
16·
  ·Ms. Brigham was employed?                                       16·
                                                                     · · ··Q.· ·Okay.··When you left Frontier in around
17·       A.    We would have deferred to the employee             17·
                                                                     ·2010 or so to go to Fresenius, any particular reason
18·handbook.                                                       18·
                                                                     ·you left?
19·
  · · ··Q.· ·Yeah, and -- and was that the same handbook           19·       A.   The company was purchased by Republic, so
20·
  ·Ms. Brigham would have been issued?                             20·my position was moved to Indianapolis.
21·       A.    Yeah.   At the time of the employment, she         21·
                                                                     · · ··Q.· ·Got it.
22·gets the employee handbook.                                     22·       A.   Yeah.
23·
  · · ··Q.· ·Okay.··And then same question for the                 23·
                                                                     · · ··Q.· ·And you didn't want to live in
24·
  ·counter service agents.··At the time that Ms. Brigham           24·
                                                                     ·Indianapolis?
25·
  ·was employed, would they have been using the same               25·       A.   I did not, no.

                                                              78                                                              80
·1·
  ·handbook that Ms. Brigham was using?                            ·1·
                                                                     · · ··Q.· ·Okay.··That's fair.
·2·       A.    Yes.                                               ·2·
                                                                     · · · · · ·And then what about when you left in 2014,
·3·
  · · ··Q.· ·Okay.··And what about the pilots during the           ·3·
                                                                     ·I think, or so --
·4·
  ·time that Ms. Brigham was employed?··Did -- were --             ·4·       A.   Okay.
·5·
  ·they were represented by a union, weren't they?                 ·5·
                                                                     · · ··Q.· ·-- to go to JetBlue?··Any -- any particular
·6·       A.    They were, in-house union.                         ·6·
                                                                     ·reason at that time?
·7·
  · · ··Q.· ·So it's different than Ms. Brigham's union?           ·7·       A.   No.     The opportunity presented itself.
·8·       A.    Yes.                                               ·8·
                                                                     · · ··Q.· ·Okay.
·9·
  · · ··Q.· ·Do you know the name of their union during            ·9·       A.   So they came and searched me.
10·
  ·that time?                                                      10·
                                                                     · · ··Q.· ·Excellent.··Thank you.
11·       A.    It was FAPA.                                       11·
                                                                     · · · · · ·MR. CRONE:··So thank you again.··I don't
12·
  · · ··Q.· ·F-A-P-A?                                              12·
                                                                     ·know if your attorney has any follow-up questions for
13·       A.    Correct.                                           13·
                                                                     ·you, but we are done.
14·
  · · · · · ·MR. CRONE:··Okay.··Mr. Arellano, I thank              14·
                                                                     · · · · · ·MS. KITSON:··I do not.··We're done.··Thank
15·
  ·you for your patience, especially during the sort of            15·
                                                                     ·you.
16·
  ·back-and-forth between lawyers in the room, and so I            16·
                                                                     · · · · · ·MR. CRONE:··Great.··You're welcome.··Thanks
17·
  ·appreciate that.                                                17·
                                                                     ·again, Mr. Arellano.··Appreciate it.
18·
  · · · · · ·If you -- if you give me five minutes, I              18·
                                                                     · · · · · ·THE WITNESS:··Yeah.··Thank you.
19·
  ·just want to circle through my notes, and then I                19·
                                                                     · · · · · ·MR. CRONE:··We can go off the record.··You
20·
  ·think we're done.                                               20·
                                                                     ·too.
21·
  · · · · · ·THE WITNESS:··Okay.                                   21·
                                                                     · · · · · ·THE VIDEOGRAPHER:··The time is 11:02.
22·
  · · · · · ·MR. CRONE:··So we can go off the record               22·
                                                                     ·We're off the record.··This concludes today's
23·
  ·now.                                                            23·
                                                                     ·deposition.
24·
  · · · · · ·THE WITNESS:··All right.                              24·
                                                                     · · · · · ·(The following proceedings continued on the
25·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 10:54.             25·
                                                                     ·stenographic record only:)


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                                                       81                                                          83
·1·
  · · · · · ·THE REPORTER:··Same for order for everybody    ·1·
                                                              ·WITNESS:··GERARDO ARELLANO
·2·
  ·on this one?                                             ·2·
                                                              ·DATE OF DEPOSITION:··July 14, 2020
·3·
  · · · · · ·MR. CRONE:··Yes, for plaintiff.                ·3·
                                                              ·CASE:··Brigham v. Frontier Airlines, Inc.
·4·
  · · · · · ·THE REPORTER:··Ms. Kitson?                     ·4·
                                                              · · · · · · · · · · ··ERRATA SHEET
·5·
  · · · · · ·MS. KITSON:··(No response.)                    ·5·
                                                              ·PAGE· ··LINE· · · · · · · ·CHANGE· · · · ·REASON
·6·
  · · · · · ·THE REPORTER:··Did she leave?                  ·6·
                                                              ·_____________________________________________________
·7·
  · · · · · ·MR. CRONE:··Did we lose her already?··Well,    ·7·
                                                              ·_____________________________________________________
·8·
  ·yes for plaintiff, anyway.                               ·8·
                                                              ·_____________________________________________________
·9·
  · · · · · ·THE REPORTER:··Okay.                           ·9·
                                                              ·_____________________________________________________
10·
  · · · · · ·MR. CRONE:··Thanks very much.··We              10·
                                                              ·_____________________________________________________
11·
  ·appreciate it.                                           11·
                                                              ·_____________________________________________________
12·
  · · · · · ·THE REPORTER:··Thank you.                      12·
                                                              ·_____________________________________________________
13·
  · · · · · ·WHEREUPON, the foregoing deposition was        13·
                                                              ·_____________________________________________________
14·
  ·concluded at the hour of 11:03 a.m. on July 14, 2020.    14·
                                                              ·_____________________________________________________
15·
  · · · · · · · · · ··*· ··*· ··*· ··*                      15·
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25·
  ·                                                         25·
                                                              ·Signature_____________________________Date___________

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·1·
  · · · · · ·I, GERARDO ARELLANO, do hereby certify that    ·1·
                                                              · · · · · · · · ·REPORTER'S CERTIFICATE
·2·
  ·I have read the foregoing transcript and that the        ·2·
                                                              ·STATE OF COLORADO· · ··)
·3·
  ·same and accompanying amendment sheets, if any,           ···· · · · · · · · · · ··) ss.
·4·
  ·constitute a true and complete record of my              ·3·
                                                              ·COUNTY OF DENVER· · · ·)
·5·
  ·testimony.                                               ·4·
                                                              · · · · ··I, JILL S. NIELSEN, do hereby certify that I
·6·
  ·                                                          ··am
                                                                · a Registered Professional Reporter and Notary
·7·
  ·
                                                            ·5·
                                                              ·Public within the State of Colorado; that previous to
                                                             ··the
                                                                ·  commencement of the examination, the witness was
·8·
  · · · · · · · · · ·_________________________
                                                            ·6·
                                                              ·duly sworn by me to testify to the truth.
 ···· · · · · · · · ·GERARDO ARELLANO
                                                            ·7·
                                                              · · · · ··I further certify this deposition was taken
·9·
  ·
                                                             ··remotely
                                                                ·       in shorthand by me at the time herein set
10·
  · · · · ··( ) No Amendments                               ·8·
                                                              ·forth, and that it was thereafter reduced to
11·
  · · · · ··( ) Amendments Attached                          ··typewritten
                                                                ·          form, and that the foregoing constitutes
12·
  ·                                                         ·9·
                                                              ·a true and correct transcript.
 ···· · · ··Subscribed and sworn to before me this          10·
                                                              · · · · ··I further certify that I am not related to,
13·
  ·                                                          ··employed
                                                                ·       by, nor of counsel for any of the parties or
 ··________
    ·       day of ________________, 2020.                  11·
                                                              ·attorneys herein, nor otherwise interested in the
14·
  ·                                                          ··result
                                                                ·     of the within action.
15·
  ·                                                         12·
                                                              ·
 ···· · · ··Notary Public:__________________________         ···· · · ··IN WITNESS WHEREOF, I have hereunto affixed
16·
  ·                                                         13·
                                                              ·my hand and seal this 27th day of July, 2020.
 ···· · · ··Address: _______________________________        14·
                                                              · · · · ··My commission expires July 7, 2023.
17·
  ·                                                         15·
                                                              · · · · · · · · · ·___________________________
 ···· · · · · · · · ·_______________________________         ···· · · · · · · · ·JILL S. NIELSEN, RPR
                                                            16·
                                                              · · · · · · · · · ·Notary Public in and for the
18·
  ·
                                                             ···· · · · · · · · ·State of Colorado
19·
  ·
                                                            17·
                                                              ·
 ···· · · ··My Commission Expires: _________________
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 ···· · · ··Seal:                                           20·
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